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                                          LOAN AGREEl\:IENT



           This LOAN AGREEl\:IENT, dated as of August 27, 2010 by and between the PUERTO
     RICO IDGHWAY AND TRANSPORTATION AUTHORITY (the "Authority" or the
     "Borrower") and GOVERNMENT DEVELOPl\:IENT BANK FOR PUERTO RICO (the
     "Bank" or the "Lender''),

                                           WITNESSETH

             WHEREAS, the Authority is in need of obtaining an emergency financing to pay
     collateral posting requirement on fixed payer swaps associated to its Floating Rate Notes (FRNs),
     Series N;

             WHEREAS, on February 15, 2007 the Authority issued Series N consisting of
     $389,060,000 in FRNs, subject to an interest rate of 67% of three month LIBOR plus 0.53%, and
     maturing in 2041 and 2045 (the "Authority FRNs"). As of today, the market value of the Authority
     FRNs is significantly below par due to the historically low levels ofLIBOR and lack of liquidity in
     this particular product;

            WHEREAS, on August 25, 2010 the Authority received a collateral posting requ.rrement
     from Citibank, the Counterparty, demanding the amount of$21A95,904 due on August 30, 2010;

            WHEREAS, as a result of the above mentioned· the Authority has requested that the Bank
T    provide such financing on an interim basis to cover any collateral posting requ.rrement on the fixed
     payer swaps associated to the Authority FRNs and costs related to the :financing;

ry           WHEREAS, the Authority intends to repay this interim :financing with the proceeds of a
     future bond issuance of the Authority, or any other available resources of the Authority;

            WHEREAS, the Bank is willing to provide such financing, but in an amount not to exceed
     $45,000,000 in accordance with the terms and conditions herein below set forth, which the Bank
     understands will be enough to cover the immediate and urgent need of funds of the Authority;

             WHEREAS, the Borrower and the Lender intend that this Loan Agreement and the Loan be
     subject to the terms of the Fiscal Oversight Agreement, dated as of July 6, 2009, as may be
     amended from time to time, between the Lender and the Borrower (the '"Fiscal Oversight
     Agreement");

            NOW, THEREFORE, in consideration of.the premises and for other good and valuable
     consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
     agree as follows:

         1. Subject to the terms and conditions contained herein, the Lender hereby agrees to make
            non-revolving advances to the Borrower (each, an "Advance") under a non-revolving line
            of credit in an aggregate principal amount not to exceed FORTY FIVE MILLION




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        DOLLARS ($45,000,000) (the "Loan") for the sole purpose of paying collateral posting
        requirements on the fixed payer swaps associated to the Authority FRNs and to cover costs
        related to this financing.

   2. The Loan shall be evidenced by a Promissory Note in an aggregate principal amount of
      not to exceed FORTY FIVE MILLION DOLLARS ($45,000,000). The Promissory
      Note shall be substantially in the form attached hereto as Exhibit A, subscribed on this
        same date by the Borrower and payable to the order of the Lender. Each borrowing made
        by the Borrower under Section 1 above (a "Borrowing") shall reduce the amount of the
        Loan by the principal amount of such Borrowing.

   3. Unless otherwise agreed to by the Lender, the Borrower may request an Advance in vvriting
      by not later than 11 :00 a.m. (Puerto Rico time) at least three (3) Banking Days prior to the
      date of the proposed Advance by an authorized representative of the Borrower. Toe Lender
      shall fimd the requested Advance on the date requested in such notice (which must be a
      Banking Day) and indicate under which Note the Advance is been :funded. Each request for
      an Advance given by the Borrower to the Lender shall be in the form attached hereto as
      Exhibit B. A request for an Advance from the Borrower, once received by the Lender, shall
      be irrevocable and binding on the Borrower. For the purposes of this Loan Agreement,
      "Banking Day" means any day on which commercial banks are open for business in San
      Juan, Puerto Rico.

   4. The principal amount of the Loan shall mature and be due and payable on August 27, 2011.
      or upon the termination of the swap agreement. Said principal amount shall be payable
      solely from proceeds of bonds to be issued by the Authority pursuant to the provisions of the
      respective sections of the Resolutions; or from any available resources of the Authority.
      Each Advance shall bear interest daily from the date of disbursement until paid in full at a
      fluctuating annual rate of interest equal to one and one half percent (1.5%) over and above
      the Prime Rate, as determined from time to time in good faith by the Lender, or, upon
      vvritten notice to the Borrower, at a variable rate of interest, which interest rate may be
      revised quarterly, per annum equal to the Lender's cost of funding for variable rate loan
      transactions or the cost of any other obligations or source of :funds used to :fund the Advance.
      For purposes of the preceding sentence, the cost of funding shall mean the applicable cost of
      any source of fimd.s used to :fund the Loan, plus in either case, a required margin cost.
      Initially, this required margin cost will be equal to 150 basis points. The required margin
      cost may be revised from time to time by the Lender to such an extent that when added to
      the applicable cost of fimds, the interest rate so determined and applicable to an Advance
      will provide for a total coverage of what the Lender determines to be its "all-inclusive"
      fimding costs. For purposes of this Loan Agreement, the applicable interest rate shall not
      exceed twelve (12) percent and shall not be less than six (6) percent.

        Anything hereunder to the contrary notwithstanding, and without prejudice to any remedies
        of the Lender provided hereunder or at law or in equity, the interest rate applicable to the
        outstanding principal amount of each Advance during any period when an Event of Default
        shall have occurred and be continuing shall be four percent (4.0%) over the otherwise
        applicable interest rate (the "Default Rate").



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        Interest shall be payable monthly in arrears not later than the tenth Banking Day following
        receipt from the Bank of the statement referred to in the next sentence of this paragrap~
        from any available moneys of the Authority. Each month the Bank shall furnish to the
        Authority a written statement showing the amount of interest due and payable by the
        Authority on all outstanding Advances for the preceding month. The Loan shall be junior
        and subordinate to outstanding bonds of the Authority and shall be subject to certain other
        terms and conditions, as set forth in this Loan Agreement. Payment of principal and
        interest on the Loan shall be made in any coin or currency of the United States of
        America, which at the time of payment shall be legal tender for the payment of public
        and private debts.

   5. The Borrower will pay a fee equal to .25% of the principal amount of the Loan on or
      prior the closing date.

   6. If there is no disbursement activity on this Loan for a period of six months after its
      approval by the Board of Director of the Bank, the loan shall be cancelled automatically.

   7. If the Borrower (i) issues and sells bonds, notes or other evidences of indebtedness; or (ii)
      enters into a concession agreement or other form of public-private partnership with respect
      to any of its assets pursuant to the provisions of Act 29 of June 8, 2009, the Public Private
      Partnerships Act; in each case in one or more transactions yielding aggregate net proceeds in
      an amount equal to or greater than the amount of then outstanding Advances, the Borrower
      shall on the day of such sale (or if a series of sales, on the day of each such sale), prepay all
      then outstanding advances; provided, however, that no prepayment shall be required in
      connection with the refunding of indebtedness existing on the date hereof and set forth in
      Schedule 9 and extensions, renewals or replacement of such indebtedness that do not
      increase the. outstanding principal amount thereof.

        The Borrower shall use reasonable commercial efforts to issue and sell bonds, notes or other
        evidences of Indebtedness in one or more transactions yielding aggregate net proceeds
        sufficient to require the. Borrower to prepay the outstanding principal amount of Loan as set
        forth above, as soon as practical but no later than the Maturity. Date without the Lender's
        consent.

    8. The Borrower shall have the right at any time and from time to time to prepay any
       Borrowing in whole or in part, without penalty or premium, subject to prior notice in
       accordance with the next sentence. The Borrower shall notify the Lender by telephone
       (confirmed by fax) of any prepayment hereunder not later than 11:00 a.m., Puerto Rico time,
       five (5) Business Days before the date of prepayment Each such notice shall be irrevocable
       and shall specify the prepayment date and the principal amount of each Borrowing or
       portion thereof to be prepaid. Each prepayment of a Borrowing shall be made to the Lender
       and applied ratably to the Advances included in the prepaid Borrowing. Prepayments shall
       be applied first to interest due and payable if any, and then to principal of the Loan.

    9. This Loan Agreement and the Loan are subject to the terms of the Fiscal Oversight
       Agreement. The Lender and the Borrower agree to execute any required amendments to the
       Fiscal Oversight Agreement to evidence their agreement. The Borrower shall from time to


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        time, upon request by the Lender, promptly provide the Lender with such information as to
        its finances and operations as the Lender shall reasonably request pursuant to the terms of
        the Fiscal Oversight Agreement.

   10. No amendment or waiver of any provisions of this Agreement or consent to any departure
       by the Borrower herefrom shall be effective unless the same .shall be in writing and
       signed by the Lender and then such waiver or consent shall be effective only :in the
       specific instance and for the specific purpose for which given.

   11. The representation s and warranties made by the Borrower to the Lender under that
       certain Credit Agreement, dated as of July 6, 2009 (the "Credit Agreement"), by and
       between the Borrower and the Lender, as lender and administrativ e agent are hereby
       :incorporated :into this Loan Agreement as made on the date hereof.

   12. If any of the following events ("Events of Default") shall occur:

            (a) the Borrower shall fail to pay any principal of any Advance or any :interest on any
        Advance when and as the same shall become due and payable, whether at the due date
        thereof or otherwise;          ·

            (b) the Borrower shall fail to pay any fee or any other amount (other than an amount
        referred to in clause (a) of this Article) payable under this Loan Agreement when and as
        the same shall become due and payable, and such failure shall continue unremedied for a
        period of three (3) Bus:iness Days;

            (c) the Borrower shall become unable, admit :in writing its :inability or fail generally
        to pay its debts as they become due;

           (d) the Borrower shall have defaulted in its obligations under the Fiscal Oversight
        Agreement, but only for so long as the Bank continues to be a lender hereunder; or

           (e) the occurrence of an event of default under the Credit Agreement, the Indenture or
        any Bond Resolution (as defined :in the Credit Agreement); or any other financ:ing
        provided by the Lender

        then, and in every such event, and at any time thereafter dur:ing the continuance of such
        event, the Lender shall, by notice to the Borrower, take either or both of the following
        actions, at the same or different times: (i) terminate the Loan immediately, and (ii)
        declare the Advances then outstanding to be due and payable in whole (or in part, in
        which case any principal not so declared to be due and payable may thereafter be
        declared to be due and payable) and thereupon the principal of the Advances and other
        amounts so declared to be due and payable, together with accrued :interest thereon and all
        fees and other obligations of the Borrower accrued hereunder, shall become due and
        payable immediately, without presentment, demand, protest or other notice of any kind,
        all of which are hereby waived by the Borrower.




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        In case of recourse to the courts by the Lender in order to collect the whole or any portion
        of the principal or interest due, the Borrower agrees to pay a liquidated sum equal to l 0%
        of the amount of the Loan to cover expenses of such proceedings, court costs,
        disbursements and attorney's fees, which amount will become immediate ly due and
        payable upon the filing of such judicial proceedings.

   13. The Borrower waives the requirements of demand, presentment, protest, notice of
       dishonor, and, in general, any other legal formality.

   14. Any notices which may be given to either party hereunder shall be in writing, and if
       addressed to the Lender, sent to the offices of the Lender located at Roberto Sanchez
       Vilella Government"Center, de Diego Avenue, San Juan, Puerto Rico, 00940, Attention:
       Executive Vice President of Financing and Treasury, or to such other address or person
       as the Lender may hereafter notify the Borrower in writing, and if addressed to the
       Borrower, sent to the address of the Borrower: Puerto Rico Highway and Transportation
       Authority, Roberto Sanchez Vilella Governmen t Center, de Diego A venue, San Juan,
       Puerto Rico, 00940, Attention: Executive Director, or such other address or person as the
       Borrower may hereafter notify the Lender in writing. Any such notice, if delivered
       personally or by facsimile transmission, shall be effective on the date when given, and if
       sent by mail, shall be effective three (3) Banking Days after posting.

   15. This Loan Agreement, together with the Note, the authorizing resolutions and the other
       documents delivered by the parties in cmmection with the closing of the Loan, expresses
       the entire agreement of the parties with respect to the transactions contemplat ed hereby.

    16. This Loan Agreement shall be binding upon and inure to the benefit of the Borrower and
        the Lender and their respective successors. and assigns. The Lender may assign to any
        other financial institution all or any part of, or any interest in, the Lender's right
        hereunder and in the Advances, and to the extent of such assignment, such assignee shall
        have the same rights against the Borrower hereunder as does the Lender. The Borrower
        may not 8:5Sign any of its rights nor delegate any of its obligations hereunder without the
        Lender's prior written consent. This Loan Agreement shall be governed by, and the
        rights and obligations of the parties hereunder shall be construed in accordance with, the
        laws of the Commonw ealth of Puerto Rico.



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IN WITNESS THEREOF, the Borrower and the Lender have caused this Agreement to be
executed and delivered by their respective officers thereunto duly authorized, as of the date first
above vmtten.


                               PMENT BANK PUERTORI COIDGHW AY AND
                                          TRANSPO TA ~ AUTHORITY



                                                               en A. Hernandez Gregorat
                                                           Secretary of Transportation and Public
                                                           Works and Executive Director



Affidavit No. \   11
       Acknowledged and subscribed before me by Ruben A. Hernandez Gregorat as Secretary
of Transportation and Public Works and Executive Director of the Puerto Rico Highway and
Transportation Authority, of legal age, married and resident of Guaynabo, Puerto Rico, who is
personally known to me.




                                                                 Notary Public

Affidavit No. {\-3

        Acknowledged and subscribed before me by Fernando L. Batlle Hemaiz, as Executive
Vice President of Financing and Treasury of Government Development Bank for Puerto Rico, of
legal age, married and resident of S~ Juan, Puerto Rico, who is personally known to me.




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                                        RST AMENDMENT TO LOAN AGREEMENT

. ·1                           RST AMENDMENT TO LOAN AGREEMENT, dated November
                           2010 by and between the PUERTO RICO HIGHWAY AND
                  TRANSPORTATION AUTHORITY (the" Authority" or the "Borrower") and the
     }            GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the 11 Bank" or the
                  "Lender"),
·r
                                                      WITNESS ETH

 .   \                    WHEREAS, on August 27, 2010 the Authority and the Bank executed a Loan
                   Agreement (the "Loan Agreement") for the total principal non revolving amount of

     1)            ONE HUNDRED EIGHTEEN MILLION THREE HUNDERED THOUSAND
                   DOLLARS ($118,300,000) (the "Loan"), to provide interim financing to (i) pay certain
                   costs incurred or to be incurred in the acquisition, construction, equipping, installation
                   and development of certain capital improvements to the Authority's facilities including
     1             those in its Construction Improvement Program for fiscal year 2010 and 2011, and
                 · paying certain costs associated with the automatization of the Authority's toll collection
                   systems (collectively, the "Project'1 ), and (ii)' pay certain other suppliers of the Authority;

                         WHEREAS, the Loan was evidenced by two Promissory Notes payable to the
                  Bank, issued on the same date as the Loan Agreement, one for the amount of
                  -$70,937,649.25 a~sociated with the Capital Expenditures (the "HTA BAB Note"), and
                  the other.for the amount of $47,362,350.75 associated with the Operating Expenses
                  (the "HTA Operating N oten);

                          WHEREAS, the Authority and the Bank have agreed to increase the total
                   principal amount of the Loan by $83,862,215 for a total maximum amount of TWO
                   HUNDRED TWO MILLION ONE HUNDRED SYXTY TWO THOUSAND TWO
 .l
       l           HUNDRED FIFTEEN DOLLARS ($202,162,215), to provide additional funds for the
                   Capital Improvement Program for fiscal year 2010; for the Capital Improvement
                   Program for fiscal year 2011; for operational expenses attributable to fiscal year 2011;
 .t               ·and $7,350,000 for the Authority's contribution to improvements to PR Road 177
                   pursuant to the June 12, 2010 Memorandum of Understanding with the Bank, the
                   Puerto Rico Electric Power Authority, and the· Municipality of Bayam6n;
 .l                      NOW, THEREFORE, in consideration of the premises and for other good and

  !               valuable consideration, the receipt and sufficiency of which are hereby
                  acknowledged, subject to the terms and conditions contained herein, the parties
                  hereto agree as follows:
 .!

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                              1. The parties agree to increase the maximum amount of the Loan from ONE
                       HUNDRED EIGHTEEN MILLION THREE HUNDERED THO:USAND DOLLARS
. !
                       ($118,300,000) to 1WO HUNDRED TWO MILLION ONE HUNDRED SIXTY TWO
        I              THOUSAND TWO HUNDRED FIFfEEN DOLLARS ($202,162,215).

;I                             2. The Authority agrees that the $83,862,215 Loan increase, will be used to
                       provide the additional sums of $8,231,424 for the Capital Improvement Program for
.       }              fiscal year 2010; $10,583,896 for the Capital Improvement Program for fiscal year 2011;
                       $57,696,895 for operational expenses attributable to fiscal year 2011; and $7,350,000 for
                       the Authority's contribution to improvements to PR Road 177 pursuant to the
-l                     June 12, 2010 Memorandum of Understanding with the Bank, the Puerto Rico Electric_
                       Power Authority, and the Municipality of Bayam6n, all of which will be considered

.I                     Permitted Expenses under the Loan Agreement.

                                3. The Loan increase shall be evidenced by a First Amendment (Allonge) to
                        the HTA BAB Note to increase the amount to $89,752,969.25; a First Amendment
       I _)·            (Allonge) to the HTA Operating Note to· increase the amount to $105,059,245.75, and·
                       ·l;ln additiomH Promissory Note for the amount of $7,350,000.

       I                      4. The Borrower will pay the Bank a fee equal to 1/20 of 1 % of the Loan increase.

    -· l                     5. The s_econd paragraph of numbered Paragraph 5 of the Loan Agreement is
                       hereby amended to read as follows:


        !                     "Anything hereunder to the contrary notw:ithstanding, and without prejudice to
                              any remedies of the Lerider provided hereunder or at law or in equity, if
                              Borrower foils to pay the principal amount of the Loan, or any part thereof, on
        ~                     the date of maturity of the Loan, the interes{ rate applicable to any such
                              outstanding principal amount shall be four percent (4. 0%) over the Prime Rate " .
    .r
                               6. The parties agree that this First Amendment to Loan Agreement does not
                        constitute a novation of the obligations set forth in the Loan Agreement, and that all
.:l                     provisions of the Loan Agreement, not inconsistent with this First Amendment to Loan
                        Agreement, shall remain in full force and effect.

    .I                                                [SIGNATURE PAGE FOLLOWS]


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                    IN WITNES S 'WHEREOF, the Borrowe r and the Lender have caused this First
            Amendm ent to Loan Agreeme nt to be executed and delivered by their respectiv e
            officers thereunt o duly authoriz ed, in San Juan, Puerto Rico.

            GOVERNMENT DEVELOPMENT BANK PUERTO RICO HIGHWAY AND
            FOR_PUERT · CO              TRANSPORTATION AUTHORITY




                  Juan Carlos Pavia                             J ier Hernand ez Scimeca., CPA
                  Executive Vice Presiden t                     Acting Executive Subdirec for
                  Fiscal Agent


             Affidav itNo.52 -0 ~




                    Recognized and subscrib ed before me by Ju~n Carlos Pavia, as Executive
             Vice Presiden t, Fiscal Agent at the Governm ent Develop ment Bank for Puerto Rico,
             of legal age, married and resident of Guaynab o, Puerto Rico, personally known to me.

                   In San Juan, Puerto Rico, on Novem be~ , 2010.




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                              SECOND AMENDMENT TO LOAN AGREEMENT


                   This SECOND AMENDMENT TO LOAN AGREEMENT, dated February 14,
             2011 by and between the PUERTO RICO HIGHWAY AND TRANSPORTATION
             AUTHORITY (the "Authority'' or the "Borrower") and the GOVERNMENT
             DEVELOPMENT BANK FOR PUERTO RICO (the 11 Bank" or the "Lendei'),

                                                WITNESS ETH

                    WHEREAS, on August 27, 2010 the Authority and the Bank executed a Loan
             Agreement (the "Loan Agreement") for the total principal non revolving runourit of
             ONE HUNDRED EIGHTEEN MILLION THREE HUNDRED THOUSAND
             DOLLARS ($118,300,000) (the "Loan"), to provide interim financing to (i) pay certain
             costs incurred or to be incurred in the acquisition, construction, equipping, installatlon
             and development of certain capital improvements to tl}e Authority's facilities including
             those in its Construction Improvement Program for fiscal year 2010 and 2011, and
             paying cei:tam costs associated with the automatization of the Authority's toll collection
             systems (collectively, the "Project''), and (ii) pay certain othei: suppliers of the Authority;

                     WHEREAS, the Loan was evidence;d by two Promissory Notes payable to the
              Bank, issued on the same date as the Loan Agreement, one for the amount of
              $70,937,649.25 associated with the Capital Expenditures (the "HTA BAB Note"), and
              the other for the amount of $47,362,350.75 associated with the Operating Expenses
              (the "ITTA Operating Note");

                     WHEREAS, on November 8, 2010 the Authority and the Bank executed a First
              Amendment to Loan Agreement (the "First Amendment") to increase the total
              principal amount of the Loan by $83,862,215 for a total maximum amount of TWO
              HUNDRED TWO MILLION ONE HUNDRED SIXTY TWO THOUSAND TWO
              HUNDRED FIFTEEN DOLLARS ($202,162,215), to provide additional funds for the
              Capital Improvement Pi:ogram ·for fiscal year 2010; for the Capital Improvement
              Program for fiscal year 2011; for operational expenses attributable to fiscal year 2011;
              and $7,350,000 for the Authority's contribution to improvements to PR Road 177
              pursuant to the Memorandum. of Understanding dated on June 12, 2010 between the
              Bank, the Authority, Puerto Rico Electric Power Authority and the Municipality of
              Bayam6n;

                    WHEREAS, the Fil'st Amendment was evidenced by a First Amendment
              (Allonge) to the HT A BAB Note to increase the amount to $89,752,969.25; a First
              Amendment (Allonge) to the HTA Operating Note to increase the amount to
              $105,059,245.75, and an additional Promissory Note for the amount of $7,350,000;




                                                                                                   AAFAF_CONF_0003305
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                    'WHEREAS, the Authority and the Bank have agreed to increase the total
             principal amount of the Loan by $69,750,126 for a total maximum amount of 'IWO
             HUNDRED SEVENTY ONE MILLION NINE HUNDRED TWELVE THOUSAND
             TIIREE HUNDRED FOURTY ONE DOLI:ARS ($271,912,341), to provide additional
             funds for the Capital Improvement Program and operational expenses for fiscal year
             2010; for the Capital Improvement Program for fiscal year 2011; and for operational
             expenses attributable to fiscal year 2011;

                     NOW, THEREFORE, in consideration of the premises and for other good and
              valuable consideration, the receipt and sufficiency 0£ which are hereby
              acknowledged, subject to the terms and conditions contained herein, the parties
              hereto agree as follows:

                  1. The parties agree to increase the maximum amount of the Loan from TWO
              HUNDRED TWO MILLION ONE HUNDRED SIXTY TWO THOUSAND TWO
              HUNDRED FIFI'EEN DOLLARS ($202,162,215) to TWO HUNDRED SEVENTY
              ONE MILLION NINE HUNDRED 1WELVE THOUSAND THREE HUNDRED
              FOURTY ONE DOLLARS ($271,912,341).                   .

                    2, The Authority agrees that the $69,750,126 Loan increase will be used to
              provide the additional sums of$5,720,168 and $29,119,273 for the Capital Improvement
              Program for fiscal year 2010 and 2011, respectively; and $7,310,091 and $27,600,594 for
              operational expenses attributable to fiscal year 2010 and 2011, correspondingly, all of
              which will be considered Permitted Expenses under the Loan Agreement.

                    3. The Loan increase shall be evidenced by a Second Amendment (AUonge) to
              the HTA BAB Note to increase the amount to $124,592,410.25; and a Second
              Amendment (Allonge) to the HTA Operating Note to increase the amount to
              $139,969,930.75.

                     4, On or before the date of execution and delivery of this Second Amendment
              to Loan Agreement, the Borrower covenants and agrees to pay to the Lender a
              financial services fee of $34,875.06.

                    5. The second paragraph of clause number 5 of the Loan Agreement, as
              amended, is hereby reinstated as stipulated originally in the Loan Agreement dated as
              of August 27, 2010.

                    6. The clause number 14 of the Loan Agreement is hereby amended to add the
              following paragraph:

                      "Upon the occurrence and during the continuance of an Event of
                      Default (as defined in the .Loan Agreement), the Lender at its sole
                      ~ption may, without notice to Borrower and to the fullest extent

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                      allowed by law, set off and .applyi any other available moneys
                      (including deposits of any kind) of the Borrower against the Loan
                      (including interests accrued). The Lender agrees to promptly notify
                      Borrower after any such set-off and application; provided that the
                      failure to give such notice shall not affect the validity of such set•off
                      and application,"

                     6, The parties agree that this Second Amendment to Loan Agreement does not
             constitute a novation of the obligations set forth in the Loan Agreement and its related
             Notes, both as amended, and that all provisions not inconsistent with this Second
             Amendment to Loan Agreement, shall remain unchanged, binding and in full force and
             effect.

                     7. The rights and obligations of the Parties to this Second Amendment to Loan
              Agreement are not intended for the benefit of and shall not be construed to create rights
              in parties other than the Borrower and the Lender.

                     8. In the event that any provision of this Second Amendment to Loan Agreement
              shall be held to be invalid in any circumstance, such invalidity shall not affect any other
              provisions or c~umstances.

                    9. This Second Amendment to Loan Agreement shall be governed by the laws of
              the Commonwealth of Puerto Rico.



                                     [SIGNATURE PAGE FOLLOWS}




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                     IN WITNESS WHEREOF, the Borrower and the Lender have caused this
            - Second Amendment to Loan Agreement to be executed and delivered by their
              respective officers thereunt. duly authorized, in San Juan, Puerto Rico.

                                     lLlJl.,'l-l'J.AJLTAENT   BANK PUERTO RICO HIGHWAY AND
                                                                   TRANSPORTATION AUTHORITY


                                                                      By,~•
                                                                       ,Jaierlienuindez Scimeca, CPA
                                                                       4.
                                                                       ~Executive Subdirector




                    Recognized and subscribed before me by Javier Hernandez Scimeca a s ~
             Executive Subdiiector of the Puerto Rico Highway and Transportation Authority, of
             legal age, married and resident of San Juan, Puerto Rico, personally known to me.

                    In San Juan, Puerto Rico, on February~ 2011.




             Affidavit No. ~£Sr7-

                   Recognized and subscribed before me by Fern.ando L. Batlle, of legal age,
             married, and resident of San Juan, Puerto Rico, as Executive Vice President of
             Financing and Treasury, personally known to me.

                    In San Juan, Puerto Rico, on February I J.f1' 2011.




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                               THIRD AMEN DMEN T TO LOAN AGREE MENT


                 This THIRD AMEN OMEN T TO LO;AN AGREE MENT, dated April .~
           20ll by and betwee n the PtJlnl.T OR.lCd HIGHW AY     AND TRANS PORTA TION
           AUTHO IUTY (the "Autho rity" or the 'iBbtrow er
                                                             0
                                                               )  and the GOVER NMEN T
           DEVELOPMENT BANK FOR PUERT O RICO (the Bank" or the "Lende r"),
                                                          11




                                                 WITN J!SSE TH.

                WHERE AS, on August 27, 2010 the Author ity and the Bank execute d a Loan
           Agreem ent (the "Loan Agreement")            for
                                              the totalptinc;.ipal non revolvi ng amount of
           ONE HU:NDRIIO' EfGHTEEN MILLION THREE HlJNDRED THOUSAND
           DOhLARS ($118,S0O,000) (the "Loan''), to providlil interim financing to (i) pay certain
           costs mcµrred or to be incurred in the acqulsitic::,n, <:Qtistrµ¢ti◊n, equipping, installation
             and d:evelqpmen.t ofcr.wfain capital improvements to the Authority's faciliti~s including
          ·. those in its Construc;tion lmprov ement Program for &c;al year 2010 and 2011, p.nd
             paying certa:in cqsts associated. with the automa tizatiort of the Ao,thority~s te>l.l cqlled:ion
             systetrts {collectiyel'.Y, the "Project''); and (ii) pay.certain other suppliers of the· J\µthorj.ty;

                  WHEREAS, the Loan. was eviden~ed by two Promissory·Notes payable t:o th~
            Bank, issued on the same date as the Loan Agreem ent, one ·for the amount of
            $70,9$7,64925 associa ted with the Capital Expend itures (the "HTA BAB Not£l), and

ft          the oth:er fpr the amount of $47,362,350.75 associated with the Operati ng Expenses
           . (the ''HTA Operatl;ng Note'');
                      WHEREAS,. on Novem ber 8, 2.010 the Attthority and the Bank execute d a First


 1           Amend ment to Loan A,greement (the ''First Amendment'') to ino:i:ease the. total
             prindpa l amount of the Loan by $83~862,215 for a total maximum ar.not.1Jtt of 1WO
           . HUND RED TWO MlLtIO N ONE HUND RED SIXTY TWO THOUS AND
             HUND RED FIFTEEN DOLLARS ($202;;162.;215), .to provide additional funds £<,r the
             Gapital Improv ement Program for fiscal year 2010; for the Capital Improvement
             Program for fiscal year 2011; for operatio n~! expense s attribut able .to fiscal year 2011;
                                                                                                           :two


             and $7/350r000 for the Autho:tity's co11tdl;:>utlon to improvements. to PR Ro~d 177
             pursuan t to the Memo.randum of Understandirtg dated on June 12., 2010 betwe,en the
                                                                                              of
             Bank, the Authori ty, Puerto Rico Electric Power Authority and the Munidp aJity
             Bayamo n;

                    WHEREAS; the First Amend ment was evidenc ed by a First Amend ment
              (Aflonge) to the mA BAB Note to increase the amount to $89,752,969.. 25; a First
              Amend ment (Allonge) to the HTA Operati ng Note to irtcrea:se the amount to
              $105,059,245.75, and art additio nal Promiss ory Note for the aJ.')).Ountof $7,350,000;




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              WBEREAS~ on February 14'° 2011 the Authorit y and the J3a,rtk e><.ecuted ~ Second
       Amendm ent to Loan Agreement (the ''Second Amertdm ¢nf') to, increase the total
       principal amount of the Loan by $69,750,126 for. a total m~imun;i. amount of ,WO
       HUNI:H~:so SEVENT Y ONE ,MILLiO N NINE HUNDR ,EP TWELVE: THOUS AND
       'tHREE HUNDR ED FORTY ONE DOLLAR S ($271,91Z3:41);, to provide a~4Hional
       fµnqs for the Capital Improve ment Program and operational expertSes for f~ct\l year
       2010; for the Capital Improvement Program for fiscal year 2011; al'.td for operation al
     , expenses attributab le to fiscalyear 2011;                                     ··

            WHERE AS, the Second Amendm ent was evidenced by a Second Amendment
      to Promisso ry Note (AJlonge) to the HTA BAB Note to increase the amount to
      $124,592,410.25; a Second Amend,m ent to Promisso ry Note (Allonge) to the HTA
      Operating Note to increase the amount to $:139,969,930.75, and an additiona l
      Promisso ry Note for th~ amount of $7p60,000;

           WBEREAS, the Authority has requeste d an increase of $28(700,000 in the
      amount ·of the Loan, to mctease the total a:m.ourtt: of the Loan to TaREE HUNDR ED
       MILLION SIX HUNDRED TWELVE THOUSAND THiEE HUNDRED FORTY
     . ONE OOLLARS ($30.0,61.2,341,);'

              WHERE AS, the.Auth ority pxoposes the use of $4,700,000 from the $28,700,000
       inctease in the amount of the Loan to provide financial assistance to the Metropolitan
       Bus Aufu,ority for operation al expenses; and the use 0£ the remaining $24,000,000 to
       provide· financial assis~nce to the Maritime Transpor tation Authority, given Resolution
       Number 2011:.001 th.at declares the. Maritime Trwportation Authority in a state of
       financial and.. operational emergency/ and the expected execution or: a conttactual
       agreement with a p:tlvate entity for the operatkm of transpori:ation service to the Island
       Mµnicipalities of Vieques and Culebra;

              WHEREAS, the Bartkhas cons.ente d to th~A11th ority'sreq uest, subjec:tto cert~n
       condition s, set forth in Resolutio n Number s CE-2011,-24 and CE-2011~25, adQpted by
       the Board of Directors of the Bank on April 5, 2.011.

              NOW, THEREF ORE, in consider ation of the prexnises and for other good !;lrtd
       valuable consider ation, the receipt and sufficie.ncy of which ate hereby
       act:knowledged, subject .to the terms and condition s containe d herein( the parties
       hereto agree to this·THIR O AMEND MENTT OLOAN AGREEM ENT, as follows:

             1. The parties agre.e to increase the maxir~mm amount of the. Loan from TWO
        HUNDR ED SEVENTY ONE MILLION NINE HUNDR ED 1WELVE 'rHOUS AND
        THREE HUNDR ED :FORTY ONE DOLLARS ($271,912;341) to THREE liUNDR ED
        MILLION SIX HUNDRED TWELVE THOUSAND THREE HUNDR ED FORTY
        ONE DOLLARS ($300,61:2,341).




                                                                                     ····••-'••·! ..
                                                                                               !




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              2. The Author ity agrees that the $2.8,700;000 Loan increase will be used as
       follows: the amount of $4,700;bb0 wi1lbe used to·partially cover.p rojected resoµrc es
       needed by the Metrop olitan Bus Authori ty (''MBA'') during the month of Ap:ril 2011;
       and the amount Qf $24,000,000 will be used to assist the Matihe Transpo;dation
       Author ity ("MTA"} clur:ing the time period it needs for reaching a cohtractu:al
       agreement With a pdv~te ~ntity for the operation of the Fajardo to Vie,ques and
       Cttlebta syst~m, a£tet declarin g the State of Emergency of. the transpo rtation setvice
       to the Island MJJniGlpalities of Vieque s and Culebra , .and a State of Fiscal Emerge ncy
       forthe:M:atine 1'tanspc;,rta,tion Aµthority.

              3. The Loan irt<;rea$e shall be evidenc ed by a Promiss ory Note in the amount
       9£ $4,700,000 (the ''MBA Note'') and. a J;rorrdssory Note in the amount $24,odOiJO()
       (the "MTA Note''), b'oth execute d by the Authori ty On this same date.

               4. On or before the date of executi on and delivery of this Third Amend ment to
        Loan Agreement1 the Borrow er covenan ts and agrees to pay to the Lender a financia
                                                                                             l
        services fee of $14,350~00.
                5. In connectioA with the MBA Note, the Bank's Fiscal Agency P~partmen.t will
        require the Borrower to execute a Fiscal Oversight Agreement, contail.)ing an

ff      operatio nal fiscal ov~sigh t plan, and a financial pian to implement operational
        initiatives to increase income and decrease operatio nal expenses, for· the Metrop olitan


t       Bus Authority.


        ttpply:
                  6. In connect ion with the MTA Note, the following disburs ement procedu res will


                         (a) Prior to the £i:lfst disb1.trsement of the funds and for each quarterly
                  d:islmrseme.nt thereafter, Borrower will provide Lender an ori~ c~rtifiqation
                  signed by the S¢cretaty of the Departm ent of Transportation and Public Works
                  or any official d~signated by the Secretary, evidencing that. the disbursement
                  petition complies with the purpo?es £or which this increase in the toan was
                  authorized.

                         (b) The fun4s will be disburs.ed qua_iwrly µpon r~ceipt ◊£ the
                  cotresp ottding certification by the Lender to the. eff¢et that the u~e of funds i.s a:s
                  authori2:ed. ·

                        (c) Lender will require whatev er adtninistrati,ve mechap isms it deems
                  nece$sary to ensure that the funds are used exclusively for the. authorfa;ed
                  purpose s, withou t unreasonable delays in the disburs ement of funds:




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                   7. A;:,idition,ally:i in connection with th'e MtA Note, the Authotify will submit an
           Imp1etru~tl.fation plan to the Board of Ditectots of the B~, fot consitletation in the :next
          ·IX1¢eting of the Board, that specifies: 1) rnec~ m for idertufying an certifying. us~rs as
           :rei;idents or non residents of the Island ·MtmidpaHties) 2) de~rrninatlon of the rate
           $tructure for residents and non residents of the Island Muriicipaliti¢s; 3) detennirtation
            of the r!,1.t.e structµre that will be implemented With the flexibility for ;rate adjµstme~ts
            and prooedures for rate revisions; and 4). estabHshes the cost fot 'idockage fee''.

                   $. Additi.ortallyi in connection with the MTA Note, the Bank's Fiscal Agency
           Departti\ ent will r¢quire the Borrowe r to execute a Fiscal Oversigh t Agreement
           containing .an· operational fiS<:al oversight plan and a financia:l plan to implertu~nt
           operational :initiatives to increase ·income and decrease operational expenses, for :the
           Maritime Transpor tation Authority. The Bank(s Fiscal Agency Departm ent will also
           require Borrower to present the Bank a plan1 to be provided by the Maritime
           Transpor tation Authority, settin:g forth the manner in which it· will impleme nt the
           u-ansitjpn to private operatio n to reduce the financial burden o{ the Maritime
           !t,;1.nsporta,tion Authority associated with the operation of the vessels.

                  9. The pt:U'.lies ,a,gree that this Third Amertdment to Loan Agreernel'.lt qq~s not

ff
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           constitute a novatio:n ofthe obligations set forth in the Loan Agteemeri:t, and its related
           Notes, all as rone:nded;. and that all provisions therein not inconsist ent with this Third
            Amendment to Loan Agteement, $hall:remain urichanged, bmdi:rtg and in fulHo:tce and
            effect.
.



                 10. The rights and obligations of the parti~s to thht Third Amendment to Loan
            Agreement are not intended for thebene fitof and shall nqtbe construed to create tights
            in parties othedhanthe. Bor:rowet i"fnd. the ~ndei,;
                  11. Pursuant to Resolution Numbers CE-.2011""24: and CE.2011..25 adopted by the
            Board of Directors of the Bank on April ·Bi;, 2011 in connection With this. Thlrcl
            Amendm ent to Lam Agreeme nt, tlus Third Ani:endment · to Loan Agreement ls
            intended as a dedatati on of intent u:rtder U.S. Treasury Departm ent Regulation Section
            1.150,-2.

                   12. In the eventtha.t any provision of this Third Amendm ent to Loan Agi.:eernent
            is held to be invalid in any ·circurnstancei such invalidit y sha.11 not aff~t any other
            provisions or circumstances.
                    1.3. Thls Tl:rlrd Amendm ent to Loan Agreement shall be governed by the laws of
             the Common wealth of Puerto Rko.




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                                                                         er have   cause'd this
           IN WITNESS 'WHEREOF, the Borrower anc:i the Lend
                      .    . ._         ,   .

                                                                     and deliveted by their
            "'




     Third Arnen.dm¢t\t to Loan Agre emen t to be ·executed            to Rico.
     respective officcars there unto duly autho rized , inSanJuan, Puer
                                                HIGHWAY AND
     GOVERNMENT lJBVELOPMEN.T BANK PUERTO RICO ON AUTHOIUTY
     :EIOR PUERTO lt.lCO           TRANSPORTAT.


                                                       B ·-t=~ae~=----...,...._,;.__ _,;. ._;_..
                                                               : ~rt A. Hern ande z Gregorat
                                                              Secretary of Transpottationartd
                                                              Public Works artd:Sxecutlve
                                                              Director of PRl-ITA


     Testimony No. i3HI

             Reco gnize d and subscribed before me by R4ben A
                                                                         He:r:~ndez Grego:rat
                                                                  Executive Dit~to.r of tlte
      Secretary of Tf.ansportatkm and Public Works, ~n4
    • Puerto.Elco High way and Transportation Authority
                                                                , of .legal 4g~/ 1na.rried ®d
                                                                    .
      resid ent of Guay nabo , Puer to Rico, personally know n tome




      Testim
                                                                           a., of legal age;
             Recognized and subs cribe d before me. by Jose R. Otero Freirl Preside:tit of
                                                                 cutive Vice
      mttrdeg, an4 resid ent of Dora do, Puer to Rico, .a$ EXE;?
      Fina ncing ·andT reasu ry, perso na:lly 'known to:tne.

                 In San Juan, Puer to Rico, on April 2r" , 2011.




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                             FOURTH AMENDMENT TO LOAN AGREEMENT

                        ·FOURTH AMENDMENT TO LOAN AGREEMENT, dated May /7
                          between the PUERTO RICO HIGHWAY AND TRANSPORTATION
                             (the "Authority" or the "Borrower") and the GOVERNMENT
                          ENT BANK FOR PUERTO RICO (the "Bank" or the "Lender"),

                                               WITNESS ETH

                  WHEREAS, on August 27, 2010 the Authority and the Bank executed a Loan
            Agreement (the "Loan Agreement") for the total principal non revolving amount of
            ONE HUNDRED EIGHTEEN MILLION THREE HUNDRED THOUSAND
            DOLLARS ($118,300,000) (the "Loan"), to· provide interim financing to (i) pay certain
            costs of certain capital improvements to the Authority's facilities including those
            incurred or to be incurred in the acquisition, construction, equipping, installation and
            development of the Capital Improvement Program for fiscal year 2010 and 2011, and
            paying certain costs associated -with the automati:zation of the Authority's toll collection
            system.s (collectively, the "Project"), and (ii) pay certain other suppliers of the Authority;

                   WHEREAS, the Loan was evidenced by two Promissory Notes payable to the
            Bank, issued on the same date as the Loan Agreement, one for the amount
            of $70,937,649.25 associated with the Capital Expenditures (the "HTA BAB Note"),
            and the other for the amount of $47,362,350.75 associated with the Operating
            Expenses (the "HIA Operating Note");

                   WHEREAS, on November·s, 2010 the Authority and the Bank executed a First
            Amendment to Loan Agreement (the "First Amendment") to increase the total
            principal amount of the Loan by $83,862,215 for a total mrudmum amount of TWO
            HUNDRED TWO MILLION ONE HUNDRED SIXTY TWO THOUSAND 'IWO
            HUNDRED FIFTEEN DOI~LARS ($202,162,215), to provide additional funds for the
            Capital Improvement Program for fiscal. year 2010; for the Capital Improvement
            Program for fiscal year 2011; for operational expenses attributable to fiscal year 2011;
            and $7,350,000 for the Authority's contribution to improvements to PR Road 177
            pursuant to the Memorandum of Understanding dated on July 12, 2010 between the
            Bank, the Authority, Puerto Rico Electric Power Authority and the Municipality of.
            Bayam6n;

                  WHEREAS, the First Amendment was· evidenced by a First Amendment
            (Allonge) to the HTA BAB Note to increase the amount to $89,752,969.25; a First
            Amendment (AUonge) to the HIA Operating Note to increase the amount to
            $105,059,245,75, and an additional Promissory Note for the amount of $7,350,000;

                   WHEREAS, on February 14, 2011 the Authority and the Bank executed a Second
            Amendment to Loan Agreement (the "Second Amendment") to increase the total
            principal amount of the Loan by $69,750;126 for a total .maximum amount of 1WO




                                                                                                  AAFAF_CONF_0003345
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       _.-,,,..Ji;J.'P~.,.,.rum SEVENTY ONE l\flLLION NINE HUNDRED TWELVE THOUSAND
                            HUNDRED FORTY ONE DOLLARS ($271,912,341), to provide additional
                "1:w1d{l~1~ the Capital Improvement Program and operational expenses for fiscal year
                    iii:
                    10;      the Capital Improvement Program for fiscal year 2011; and for operational
                 exp .       attributable to fiscal year 2011;

                 0       REAS, the Second Amendment was evidenced by a Second Amendment
              ~" omissory Note (Allonge) to the HTA BAB Note to increase the amount
      ---~_,.0$124,592,410.25; a Second Amendment.to Promissory Note (Allonge) to the HTA
              Operating Note to increase the amount to $139,969,930.75, and an additional
              Promissory Note for the amount of $7,350,000;                        )

                      WHEREAS, on April 28, 2011 the Authority and the Bank executed a Third
               Amendment to Loan Agreement (the "Third Amendment") to increase the total
               principal amount of the Loan by $28,700,000 for a total maximum amount of Tlm.EE
               HUNDRED MILLION SIX HUNDRED 'IWELVE THOUSAND· THREE
               HUNDRED FORTY ONE DOLLARS ($300,612,341).

                      WHEREAS, the. Third Amendment was evidenced by a Promissory Note in the
               amount 6£ $4,700,000 (the "MBA Note") and a Promissory Note in the amount
               of $24,000,000 (the "MTA Note").

                      WHEREAS, the Authority has requested an increase of $102,709,611 in the
               amount of the Loan, to increase the total amount of the Loan to FOUR HUNDRED
               THREE MILLION THREE HUNDRED TWENTY ONE THOUSAND NINE
               HUNDRED FIFTY TWO DOLLARS ($403,321,952), to provide additional resources
               for the Authority's operational and Capital Improvement Program expenses, to pay a
               judgment due by the Authority to Redondo Construction Cqmpany; and to provide
               additional operational funds to the Metropolitan Bus Authority for Fiscal Year 2011;

                     WHEREAS, the Authority has also requested authorization to use the maximum
               amount of $2,700,000, from the $24,000,000 it borrowed from Lender pursuant to the
               Third Amendment to Loan Agreement executed on April 28, 2011 (Lender Resolution
               No. CE-2011-25 of April 5, 2011) to provide financial assistance to the Maritime
               Transportation Authority, to pay insurance coverage for the vessels used by the
               Maritime Transportation Authority to provide transportation to the Island
               Municipalities of Vieques and Culebra;

                      WHEREAS, the Bank has consented to the Authority's requests, subject to
               conditions, set forth in Resolution Numbers 9493, 9494, 9495, and 9496, adopted by the
               Board of Directors of the Bank on April 20, 2011.

                     NOW, THEREFORE, in consideration of the premises and for other good and
               valuable consideration, the receipt and sufficiency of which are hereby




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                   )                           .
             a     · ~ edged, subject to the terms and conditions contained herein, the parties
                 ere ~ ee to this FOURTH AMENDMENT TO LOAN AGREEivIBNT, as follows:
                       rn
                  1.         e parties agree to increase the maximum amount of the Loan from THREE
                      D D MILLION SIX HUND~ED 1WELVE THOUSAND THREE
             .,_.....,_.....ED FORTY ONE DOLLARS ($300,612,341) to FOUR HUNDRED THREE
                        ON THREE HUNDRED TWENTY ONE THOUSAND NINE HUNDRED
                         TWO DOLLARS ($403,321,952).

                 2. The Authority agrees that the $102,709,611 Loan increase will be used as
             follows; $4,188,958 for Bom)wer's operational expenses corresponding to Fiscal Yeax
             2010; $62,054,868 for Borrower's projected operational expenses for the April to June
             semester of Fiscal Year 2011; $3,122,051 for Borrower's Capital Improvement
             Program corresponding to Fiscal Year 2011; $21,791,245 for Borrower's payment of a
             judgment in favor of Redondo Construction Company; $11,552,489 to provide the
             Metropolitan Bus Authority funds for payroll and other operational expenditures
             corresponding to May and June 2011.

                 3. The Loan increase shall be evidenced by a Third Amendment to Promissory
             Note (Allonge) to the HTA BAB Note to increase the amount by $3,122,051
             to $127,714,461.25; and a Third Amendment to Promissory Note (Allonge) to the
             HTA Operating Note to increase the amount by $66,243,826 to $206,213,756.75. The
             Bank's Fiscal Agency Department will require the following from the Authority:

                              (a)   Provide the Bank's Fiscal Agency Department a Plan within the
                       next 30 days detailing the PG Engineering progress reports and the process for
                       speeding up the Authority's capital improvement projects.

                              (b)    Provide a detailed report on how critical areas of the Authority
                       will continue providing services considering the decrease of 343 employees in
                       payroll.

                             (c)    Comply with the conditions set forth m Resolution No. CE-2011-
                       25 of April 5, 2011 by the Executive Committee of the Board of Directors of
                       the Bank.

                              (d)    Review Borrower's accounts payable systems to reconcile the
                       records of the Authority with the Bank's, so that they correctly reflect
                       accumulated interest owed the Authority to the Bank, which amount to
                       $72.8 million, not $30.1 million as reflected in the records of the Authority.

                             (e)    Provide the Bank a report on progress made during Fiscal Year
                       2011 as part of its stabilization plm, and provide, in addition, its plan for
                       Fiscal Year 2012, including how it will manage the precarious situation of
                       Metropolitan Bus Authority:
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                              (f)   Recommend that the Bank's engineering consultant and the
                           cal Agent of the Bank work hand in hand to evaluate opportunities to
                             e more federal funds to the .Authority, to optimize its plan for capital
                            rovements and to review and implement effectively and without delay
                            Authority's fiscal stabilization plan.
                        ~o
                 0     ~ The Loan increase shall be evidenced by a First Amendment to Promissory
       ----~l"""'f"irote (Allonge) to the MBA Note to increase the amount by $11,552,489 to $16,252,489,
                  executed by the Authority on this same date. In connection 'With the foregoing,
                  Lender's Fiscal Agency Department will reqwre Borrower a :fiscal stabilization plan of
                  the operations of the Metropolitan Bus Authority and a financial plan to be provided
                  within the next thirty (30) days, with the aim of implementing operational initiatives to
               increase income and reduce the operational expenses of the Metropolitan Bus Authority,
               subject to the execution of a Fiscal Oversight Agreement; and a presentation to the
               Lender, within the stabilization plan corresponding to Fiscal Year 2011-2012, of how the
               precarious situation of the Metropolitan Bus Authority will be addressed.

                    5. The Loan increase shall also be evidenced by a new additional Promissory
                Note for the amount of $21,791,245 (the "Redondo Note"), executed on this sam:e date,
                for payment of the judgment to Redol).do Construction. The approval of the
                disbursement of these funds will be conditioned as follows: Borrower will provide
                evidence acceptable to Lender of claims made to insurance companies in connection
                with the judgment payable to Redondo Construction, and that such claims are not
                partially or completely covered by the insurance policies of Borrower; and Borrower
                will provide the Bank specific details of complaints by Redondo Construction against
                Borrower, with the purpose of evaluating possible risks, additional to the economic and
                fiscal situation of such public corporation,

                   6. Lender consents to and authorizes the use of the maximum amount of
               $2,700,000 from the $24,000,000 borrowed by the Authority pursuant to the Third
               Amendment to Loan Agreement executed on April 28, 2011 to assist the Maritime
               Transportation Authority, to pay insurance coverage for the existing vessels of the
               -Maritime Transportation Authority. Accordingly, Lender consents to amending Lender
               Resolution No. CE-2011-25, adopted on April 5, 2011, to permit the use of funds as set
               forth in this numbered paragraph 4.

                       In connection with the foregoing, the Authority agrees to provide Lender
                analyses of the statement of value of the referenced vessel insurance policies and the
                conditions of the referenced existing vessels, to evaluate the possible reduction of
                insurance premiums.

                     . In addition, the Authority agrees to provide a detailed memorandum about the
                insurance policies budgeted by the Maritime Transportation Authority and how these


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             policies have moved within the budget, It the policies were not budgeted, the
             Authority will explain the reason for such non inclusion in the budget

                7. On or before the date of execution :and delivery of this Fourth Amendment to
             Loan Agreement, the Borrower covenants and agrees to pay to the Lender a financial
             services fee of $41,083.84, equivalent to 1/25 of 1 % of the $102,709,611 increase in the
             maximum amount of the Loan.

                8. The parties agree that this Fourth Amendment to Loan Agreement does not
             constitute a novation of the obligations set forth in the Loan Agreement, and its related
             Notes, all as amended, and that all provisions therein not inconsistent with tbis Fourth
             Amendment to Loan Agreement, shall remain unchanged, binding and in full force and
             effect.                   ·

                 9. The rights and obligations of the parties to this Fourth Amendment to Loan
             Agreement are not intended for the benefit of and shall not be construed to create rights
             in parties other than the Borrower and the Lender.

                10. Pursuant to Resolution Numbers 9493, 9494, 9495, and 9496, adopted by the
             Board of Directors of the Bank on April 20, 2011 in connection with this Fourth
             Amendment to Loan Agreement, this Fourth Amendment to Loan Agreement is
             intended as a declaration of intent under U.S. Treasury Department Regulation Section
             1.150-2.

                 11. In the event that any provision of :this Fourth Amendment to Loan Agreement
             is held to be invalid in any circumstance, such invalidity shall not affect any other
             provisions or circumstances.

                 12. This Fourth Amendment to Loan Agreement shall be governed by the laws of
             the Commonwealth of Puerto Rico.




                                           [ SIGNATURE PAGE FOLLOWS]




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                   IN WITNESS WHEREOF, the Borrower and the Lender have caused this
            Fourth Amendment to Loan Agreement to be executed and delivered by their
            respective officers thereunto duly authorized, in San Juan, Puerto Rico.

            GOVERNM ENT DEVELOPM ENT BANK PUERTO RICO HIGHWAY AND
            FOR PlJERTO :RICO
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                                                        By•
                                                          ·~gorat
                                                           Secretary of Transportation and
                                                            Public Works and Executive .
                                                            Director of the Puerto Rico
                                                              Highway and Transportation
                                                              Authority


             Testimony No. 511f -




                                                        ~v .l~ ~r   Notary Public

             Testimony No. 2. S \

                   Recognized and subscribed before me by Jose R. Otero Freirla, of legal age,
             married, and resident of Dorado, Puerto Rico, as Executive Vice President of
             Finandng and Treasury, personally known to me.




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                  FIFTH AMEND MENT TO LOAN AGREEMENT by and between the
         PUERTO RICO            HIGHWAY      AND TRANSP ORTAT ION AUTHORITY
         (the II Authorityu or the #Borrower") and the GOVERNMENT DEVELOPMENT
         BANK FOR PUERTO RICO (the 11 Bank" or the ''Lender ")

                                              WITN ESS ETH

               WHEREAS, on August 27, 2010 the Authorit y and the Bank executed a Loan
        Agreeme nt (the "Loan Agreeme nt") for the total principa l non revolvin g amount of
        ONE HUNDR ED EIGHTEEN MILLION THREE HUNDR ED THOUS AND
        DOLLA RS ($118,300,000) (the "Loan"), to provide interim financing to (i) pay certain
        costs of certain ~a.pita! improve ments to the Authorit y's facilities including those
        incurred or to be incurred in the acquisition, construction, equipping, installation and
        developm ent of the Capital Improve ment Program for fiscal year 2010 and 2011, and
        paying certain costs associated with the automati zation of the Authorit ys toll collection
        systems (collectively, the "Project"), and (ii) pay certain other suppliers of the Authority;

        WHEREAS, the Loan was evidence d by two Promiss ory Notes payable to the Bank,
        issued on the same date as the Loan Agreement, one for the amount of $70,937,649.25
        associated with the Capital Expendi tures (the 11HTA BAB Note"), and the other for the
        amount of $47,362;350.75 associated with the Operatin g Expenses (the "HTA
        Operatin g Note");

                WHERE AS,      onNovemb er 8, 2010 the Authority and the Bank executed a First
        Amendm ent to Loan Agreement (the "F:lrst Amendm ent'') to increase the total principal
        amount of the Loan by $83,862,215 for a total maximu m amount of TWO HUNDR ED
        TWO MILLION ONE HUNDR ED SIXTY TWO THOUS AND TWO HUNDR ED
        FIFTEEN DOLLARS ($202,162,215), to provide additional funds for the Capital
        Improve ment Program for fiscal year 2010; for the Capital Improve ment Program for
        fiscal year 2011; for operational expenses attributable to fiscal year 2011; and $7,350,000
        for the Authorit y's contribution to improve ments to PR Road 177 pursuan t to the
        Memora ndum of Understanding dated on July 12, 2010 between the Bank, the Authority,
        Puerto Rico Electric Power Authority and the Municipality of Bayam6n;

                         WHEREAS, the First Amendm ent was evidence d by a First Amendm ent
                    Uonge) to the HTA BAB Note to increase the amount to $89,752,969.25; a First
               JMJ;J.eJ!l~
  ..---,,......__             ment (Allonge) to the HTA Operatin g Note to increase the amount to
                                  45.75, and an addition al Promisso ry Note for the amount of $7,350,000;
                .        J, ,,. .

                          ~ • · REAS, on February 14, 2011 the Authorit y and the Bank executed a Second
                     en i!h~ t to Loan Agreement (the "Second Amendm ent") to increase the total
                 rind al             ount of the Loan by $69,750,126 for a total maximu m amount of TWO
                   U          - D SEVENTY ONE MILLION NINE HUNDR ED TWELVE THOUS AND
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               ,..,o\'P.




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       THREE HUNDRED FORTY ONE DOLLARS ($271,912,341), to provide additional
       funds for the Capital Improvemen t Program and operational expenses for fiscal year
       2010; for the Capital Improvemen t Program for fiscal year 2011; and for operational
       expenses attributable to fiscal year 2011;

              WHEREAS, the Second Amendment was evidenced by a Second Amendment to
       Promissory Note (AUonge) to the HTA BAB Note to increase the amount
       to $124,592,410.25; a Second Amendment to Promissory Note (Allonge) to the HTA
       Operating Note to increase the amount to $139,969,930.75, and an additional
       Promissory Note for the amount of $7,350,000;

            WHEREAS, on April 28, 2011 the Authority and the Bank executed a Third
       Amendment to Loan Agreement (the "Third Amendment") to increase the total principal
       amount of the Loan by $28,700,000 for a total maximum amount of THREE HUNDRED
       MILLION SIX HUNDRED TWELVE THOUSAND THREE HUNDRED FORTY
       ONE DOLLARS ($300,612,341).

              WHEREAS, the Third Amendment was evidenced by a Promissory Note in the
       amount of $4,700~000 (the "MBA Note") and a Promissory Note in the amount
       of $24,000,000 (the "MTA Note").

              WHEREAS, on May 17, 2011 the Authority and the Bank executed a Fourth
       Amendment to Loan Agreel'Il:ent (the "Fourth Amendment '') to increase the total amount
       of the Loan to FOUR HUNDRED THREE MILLION THREE HlJNDREQ TWENTY
       ONE THOUSAND NINE HUNDRED FIFI'Y 1WO DOLLARS ($403,321,952), to
       provide additional resources for the Authority's operational and Capital Improvement
       Program expenses,. to pay a judgment due by the Authority to Redondo Construction
       Company; to provide additional operational funds to the Metropolitan Bus Authority for
       Fiscal Year 2011; and to provide authorization to use the maximum amount of $2,700,000,
       from the $24,000,000 it borrowed from Lender pursuant to the Third Amendment to
       provide financial assistance to the Maritime Transportation Authority, to pay insurance
       coverage for the vessels used by the Maritime Transportation Authority to provide
       transportation to the Island Municipalities of Vieques and Culebra;

            WHEREAS, the Authority has requested that the Loan Agreement be further
       amended to include additional uses for the $24,000,000 it borrowed from Lender
                 o the Third Amendment (for financial assistance to the Maritime
                       Authority), given that the Board of Directors of the Maritime
             rta      ~uthority decided it was not interested in pursuing the concession
                  t ~.j aritime transportation service presently offered by the Maritime
               atio l'A thority, as had been planned.




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             WHEREAS, the Bank has consented to the Authority's request, subject to
      conditions, set forth in Resolution Number 9586, adopted by the Board of Directors of the
      Bank on August 17, 2011. In Resolution Number 2011-65 issued on October 20, 2011 by
      the Secretary of Transportation and Public Works, the Authority was authorized to
      execute the transaction subject to the Bank's conditions.

         NOW, THEREFORE, in consideration of the premises and for other good and
      valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
      subject to the terms and conditions· contained herein, the parties hereto agree to this
      FIFTH AMENDMENT TO LOAN AGREEMENT, as follows:

         1. Lender consents to and authorizes the inclusion of the following uses among
      the uses of the amount of $24,000,000 borrowed by the Authority pursuant to the Third
      Amendme nt (for financial assistance to the Maritime Transportation Authority):

              (a) Drafting of a document for "Invitation for Bidding ("IFB") of Operational
                                                                           11


              Support;

              (b) Support to the Maritime Transportation Authority fo:r analyzing,
              documenting and solving the issues communicated by the various regulatory
              agencies that provide federal funds, among others, and which caused the state of
              emergency in the agency;

              (c) Support to the Maritime Transportation Authority in making permanent
              improvements to the internal processes within the agency that result in effective
              and efficient service, and include the negotiation of the collective agreements to
              obtain economic and operational efficiencies necessary for the process; and

              (d) Contracting of one or various suppliers to assist the Maritime Transportation
              Authority to cover the deficiencies in its services to the citizens of Fajardo, Vieques
              and Culebra.

         2,  The approval of this Fifth Amendme nt to the Loan Agreement and the
      disbursement of the funds shall be subject to the following:

                  (a)    The Authority will provide the Bank a budget detailing by entry the
                  proposed uses for the $24,000,000 assigned to subsidize the Maritime
  _.,,+I,!.---. Transportation Authority;" and
        ROD
               :Ii!      The President of the Bank, or his designee, will review the budget
                       'tted and the disbursements wm be made after approval thereof.




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               (c)   AH other terms and conditions of the financing not inconsistent with the
               Resolution 9586 issued by the Bank's Board of Directors, will remain unaltered.

           3. The parties agree that this Fifth Amendment to Loan Agreement does not
       constitute a novation of the obligations set forth in the Loan Agreement, and its related
       Notes, all as amended, and that all provisions therein not inconsistent with this Fifth
       Amendment to Loan Agreement, shall remain unchanged, binding and in full force and
       effect.

           4. The rights and obligations of the parties to this Fifth Amendment to Loan
       Agreement are not intended for the benefit of and shall not be construed to create rights
       in pill'ties other than the Borrower and the Lender.

           5. Pursuant to Resolution Number     and
                                                  9586, adopted by the Board of Directors of
       the Bank on August 17, 2011 in connection with this Fifth Amendment to Loan
       Agreement{ this Fifth Amendment to Loan Agreement is intended as a declaration of
       intent under UOS. Treasury Department Regulation Section 1.150-2.

          6. In the event that any provision of this Fifth Amendment to Loan Agreement is
       held to be invalid in arty circumstance, such invalidity shall not affect any other
       provisions or circumstances.

         7. This Fifth Amendment to Loan Agreement shall be governed by the laws of the
       Commonwealth of Puerto Rico.




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              IN WITNESS WHEREOF, the Borrower and the Lender have caused this Fifth
       Amendment to Loan Agreement to be executed and delivered by their respective
       officers thereunto duly authorized, in San Juan, Puerto Rico.


       GOVERNMENT DEVELOPMENT BANK PUERTO RICO HIGHWAY AND
       FOR PUERTO RICO
                                   TRAN~P~~}~'T\'N AUTHORITY

       By: _ _~,;...£.,u:-,,."--7'~------
       JoseR. Ote
       Executive
                                                      Byi-+~
                                                      Ruben A--:1-Iernandez Gregorat
                                                       Secretary of Transportation and
                                                       Public Works and Executive
                                                         Director of the Puerto Rico
                                                             Highway and Transportation
                                                           . Authority

       Testimony No,     m-
     u---..Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
       ~Ga-i          irector of the Puerto Rico Highway and Transportation Authority and
            ·i:rmJ1,,,D,r~1ransportation and Public Works, of legal age, married and resident of
                          to Rico, personally known to me.

                          n, Puerto Rico, on October . 2]   ,2011.

                                                 Notary Public

       Testimony No. -clf2f-

              Recogn~zed and subscribed before me by Jose R. Otero Freirfa~ of legal age,
       married, arid resident of Dorado, Puerto Rico, as Executive Vice President of Financing
       of the Government Development Bank for Puerto Rico, personally known to me.
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               In1::ia!~w11 Puerto Rico, on O,gtooer ~ 2012."'l
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Case:17-03283-LTS Doc#:18815-1 Filed:10/27/21 Entered:10/27/21 09:09:47                                   Desc:
                       Monolines Ex. 43 Page 30 of 51
                               SIXTH AMENDMENT TO LOAN AGREEMENT


                    SIXTH AMENDMENT TO LOAN AGREEMENT by and between the
             PUERTO ruco HIGHWAY AND TRANSPORTATION AUTHORITY
             (the "Authority" or the "Borrower") and the GOVERNMENT DEVELOPMENT
             BANK FOR PUERTO RICO (the "Bank" or the "Lender"),

                                               WITNESS ETH

                  WHEREAS, on August 27, 2010, the Authority and the Bank executed a Loan
             Agreement (the "Loan Agreement") for the total principal non revolving amount of
             ONE HUNDRED EIGHTEEN MILLION THREE HUNDRED THOUSAND
             DOLLARS ($118,300,000) (the "Loan"), to provide interim financing to (i) pay certain
             costs of certain capital improvements to the Authority's facilities including those
             incurred or to be incun:ed in the acquisition, construction, equipping, installation and
             development of the Capital Improvement Program for fiscal year 2010 and 2011, and
             paying certain costs associated with the automatization of the Authority's toll collection
             systems (collectively, the "Project''), and (ii) pay certain other suppliers of the
             Authority;

                    WHEREAS, the Loan was evidenced by two Promissory Notes payable to the
             Bank, issued on the same date as the Loan Agreement, one for the amount
             of $70,937,649.25 associated with the Capital Expenditures (the "HfA BAB Note"),
             and the other for the amount of $47,362,350.75 associated with the Operating
             Expenses (the "HTA Operating Note");

                    WHEREAS, on November 8, 2010 the Authority and the Bank executed a First
             Amendment to Loan Agreement (the "First Amendment") to increase the total
             principal amount of the Loan by $83,862,215 for a total maximum amount of TWO
             HUNDRED TWO MILLION ONE HUNDRED SIXTY TWO THOUSAND TWO
             HUNDRED FIFTEEN DOLLARS ($202,162,215), to provide additional funds for the
             Capital Improvement Program for fiscal year 2010; for the Capital Improvement
             Program for fiscal year 2011; for operational expenses attributable to fiscal year 2011;
             and $7,350,000 for the Authority's contribution to improvements to PR Road 177
             pursuant to the Memorandum of Understanding dated on July 12, 2010 between the
             Bank, the Authority, Puerto Rico Electric Power Authority and the Municipality of
             Bayam6n;

                   WHEREAS, the First Amendment was evidenced by a First Amendment
             (Allonge) to the HTA BAB Note to increase the amount to $89,752,969.25; a First
             Amendment (Allonge) to the HTA Operating Note to increase the amount to
             $105,059,245.75, and an additional Promissory Note for the amount of $7,350,000;




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                    WHEREAS, on February 14, 2011 the Authority and the Bank executed a Second
             Amendment to Loan Agreement (the "Second Amendment") to increase the total
             principal amount of the Loan by $69,750,126 for a total maximum amount of lWO
             HUNDRED SEVENTY ONE MILLION NINE HUNDRED TWELVE THOUSAND
             THREE HUNDRED FORTY ONE DOLLARS ($271,912,341), to provide additional
             funds for the Capital Improvement Program and operational expenses for fiscal year
             2010; for the Capital Improvement Program for fiscal year 2011; and for operational
             expenses attributable to fiscal year 2011;

                    WHEREAS, the Second Amendment was evidenced by a Second Amendment
             to Promissory Note (Allonge) to the HTA BAB Note to increase the amount
             to $124,592,410.25; a Second Amendment to Promissory Note (Allonge) to the Hr A
             Operating Note to increase the amount to $139,969,930.75, and an additional
             Promissory Note for the amount of $7,350,000;

                    WHEREAS, on April 28, 2011 the Authority and the Bank executed a Third
             Amendment to Loan Agreement (the "Third Amendment") to increase the total
             principal amount of the Loan by $28,700,000 for a total maximum amount of THREE
             HUNDRED JMILLION SIX HUNDRED TWELVE                         THOUSAND        THREE
             HUNDRED FORTY ONE DOLLARS ($300,612,341).

                    WHEREAS, the Third Amendment was evidenced by a Promissory Note in the
             amount of $4,700,000 (the "MBA Note") and a Promissory Note in the amount
             of $24,000,000 (the "MTA Note").

                  WHEREAS, on May 17, 2011 the Authority and the Bank executed a Fourth
             Amendment to Loan Agreement (the "Fourth Amendment'') to increase the total
             amount of the Loan to FOUR HUNDRED THREE MILLION THREE HUNDRED
             TWENTY ONE THOUSAND NINE HUNDRED FIFrY TWO DOLLARS
             ($403,321,952), to provide additional resources for the Authority's operational and
             Capital Improvement Program expenses, to pay a judgment due by the Authority to
             Redondo Construction Company; to provide additional operational funds to the
             Metropolitan Bus Authority for Fiscal Year 2011; and to provide authorization to use
             the maximum amount of $2,700,000, from the $24,000,000 it borrowed from Lender
             pmsuant to the Third Amendment to provide financial assistance to the Maritime
             Transportation Authority, to pay insurance coverage for the vessels used by the
             Maritime Transportation Authority to provide transportation to the Island
             Municipalities of Vieques and Culebra;

                    WHEREAS, on January 20, 2012, the Authority and the Bank executed a Fifth
             Amendm,ent to Loan Agreement (the "Fifth Amendment") to include the following
             additional uses for the $24,000,000 it borrowed from Lender pursuant to the Third
             Amendment: (a) drafting of a document for "Invitation for Bidding "("IFB") of
             Operational Support; (b) support to the Maritime Transportation Authority for
             analyzing, documenting and solving the issues communicated by the various
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             regulatory agencies that provide federal funds, among others, and which caused the
             state of emergency in the agency; (c) support to the Maritime Transportation Authority
             in making permanent improvements to the internal processes wlthln the agency that
             result in effective and efficient service, and include the negotiation of the collective
             agreements to obtain economic and operational efficiencies necessary for the process;
             and, (d) contracting of one or various suppliers to assist the Maritime Transportation
             Authority to cover the deficiencies in its services to the citizens of Fajardo, Vieques and
             Culebra.

                   WHEREAS, the Authority has furthermore requested to use the maximum
             amount of $2,680,518.62 from the $24,000,000 it borrowed from Lender pursuant to the
             Third Amendment, to pay the current insurance coverage for the vessels used by the
             MTA to provide transportation to the Island Municipalities of Vieques and Culebra,
             and for the payment· of the endorsement of the National Guard vessels for the year
             2011.

                    WHEREAS, the Bank has consented to the Authority's requests, subject to
             conditions, set forth in Resolution Number CE-2012-25, adopted by the Board of
             Directors of the Bank on March 16, 2012.

                    NOW, THEREFORE, in.consideration of the premises and for other good and
             valuable consideration, the receipt and sufficiency of :which are hereby
             acknowledged, subject to the terms and conditions contained herein, the parties
             hereto agree to this SIXTH AMENDMENT TO WAN AGREEMENT, as follows:

                 1. Lender consents to and authorizes the use of the maximum amount of
             $2,680,518.62 from the $24,000,000 borrowed by the Authority pursuant to the Third
             Amendment to Loan Agreement, in order to assist the MTA to pay the current
             insurance coverage for the vessels used by the MTA to provide transportation to the
             Island Municipalities of Vieques and Culebra, and for the payment of the endorsement
             of the National Guard vessels for the year 2011. Accordingly, Lender consents to
             amending Lender Resolution Number 9586, adop~d by the Board of Directors of the
             Bank on August 17, 2011, to permit the use of funds as set forth in this numbered
             paragraph 1.

                 2. The Authority must establish a reserve in the amount of $160,000 withln this
             line of credit for the cancellation of an expired credit line of the l\11'A with the Bank,
             which may be releruied in the event that funds are allocated for cancellation through
             the General Fund of the Government of Puerto Rico for the Fiscal Year 2012-2013.

                3. In the eventuality that MTA regains interest in continuing with the
             concession of the maritime transportation service that it currently provides, the
             remaining funds may be reprogrammed for this purpose.



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                4. The parties agree that this Sixth Amendment to Loan Agreement does not
            constitute a novation of the obligations set forth in the Loan Agreement, and its related
            Notes, all as amended, and that all provisions therein not inconsistent with this Sixth
            Amendment to Loan Agreement, shall remain nnchanged, binding and in full force and
            effect.

                5. The rights and obligations of the parties to this Sixth Amendment to Loan
            Agreement are not intended for the benefit of and shall not be construed to create rights
            in parties other than the Borrower and the Lender.

               6. Pursuant to Resolution Number CE-2012-25, adopted by the Board of Directors
            of the Bank on March 16, 2012 in connection with this amendment, this Sixth
            Amendment to Loan Agreement is intended as a declaration of intent under U.S.
            Treasury Department Regulation Section 1.150-2.

               7. In the event tbat any provision of this Sixth Amendment to Loan Agreement is
            held to be invalid in any circumstance, such invalidity shall not affect any other
            provisions or circumstances.

              8. This Sixth Amendment to Loan Agreement shall be governed by the laws of the
            Commonwealth of Puerto Rico.

                                         [ SIGNATURE PAGE FOLLOWS]




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Case:17-03283-LTS Doc#:18815-1 Filed:10/27/21
                                         5    Entered:10/27/21 09:09:47                         Desc:
                       Monolines Ex. 43 Page 34 of 51
                    IN WTI'NESS WHEREOF, the Borrower and the Lender have caused this
             Sixth Amendment to Loan Agreement to be executed and delivered by their
             respective officers thereunto duly authorized, in San Juan, Puerto Rico.

             GOVERNMENT DEVELOPMENT BANK PUERTO RICO HUfHWAY AND
             FOR PUERTO RICO
                                                         ffi~eTION j~ORITY
                                                         Br,_""c:--r--------
                                                             RuA.Hernandez Gregorat
                                                             Secretary of Transportation and
                                                             Public Works and Executive
                                                             Director of the Puerto Rico
                                                             Highway and Transportation
                                                             Authority


             Testimony No. {p..(&,

                   Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
             Secretary of Transportation and Public Works and Executive Director of the
             Puerto Rico Highway and Transportation Authority, of legal age, married and
             resident of GuaY!'!,abo, Puerto Rico, personally known to me.
                             N
                                        · o, on March _Jj_, 2012.




             Testimony No.~

                   Recognized and subscribed before me by Jose R. Otero Freida, of legal age,
             married, and resident of Dorado, Puerto Rico, as Executive Vice President of
             Financing, personally known to me.

                                 Puerto Rico, on March~ 2012.




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                                                                                      AAFAF_CONF_0003403
Case:17-03283-LTS Doc#:18815-1 Filed:10/27/21 Entered:10/27/21 09:09:47                                   Desc:
                       Monolines Ex. 43 Page 35 of 51
                             SEVENTH AMENDMENT TO LO~ AGREEMENT


                    SEVENTH AMENDMENT TO LOAN AGREEMENT by and between the
             PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
             (the "Authority" or the "Borrower") and. the GOVERNMENT DEVELOPMENT
             BANK FOR PUERTO RICO (the "Bank" or the "Lender"),

                                              WITNESS ETH

                    WHEREAS, on August 27, 2010, the Authority and the Bank executed a Loan
             Agreement (the "Loan Agreement") for the total principal non revolving amount of
             ONE HUNDRED EIGHTEEN MILLION THREE HUNDRED THOUSAND
             DOLLARS ($118,300,000) (the "Loan"), to provide interim finp.ncing to (i) pay certain
             costs of certain capital improvements to the Authority's facilities including those
             :incurred or to be incurred in the acq~isition, construction, equipping, installation and
             development of the Capital Improvement Program for fiscal year 2010 and 2011, and
             paying certain costs associated with the automatization of the Authority's toll collection
             systems (collectively, the "Project''), and (ii) pay certain other suppliers of the
             Authority;

                   WHEREAS, the Loan was evidenced by two Promissory Notes payable to the
             Bank, issued on the same date as the Loan Agreement, one for the amount
               of $70,937,649.25 associated with the Capital Expenditures (the "HTA BAB Note"),
               and the other for the amount of $47,362,350.75 associated with the Operating
            .· Expenses (the "HTA Operating Note");

                    WHEREAS, on November 8, 2010 the Authority and the Bank executed a First
             Amendment to Loan Agreement (the "First Amendment") to increase the total
             principal amount of the Loan by $83,862,215 for a total maximum amount of TWO
             HUNDRED TWO MILLION ONE HUNDRED SIXTY TWO THOUSAND TWO
             HUNDRED FIFI'EEN DOLLARS ($202,162,215), to provide additional funds for the.
             Capital Improvement Program for fiscal year 2010; for the Capital Improvement
             Program for fiscal year 2011; for operational expenses attribu1:able to fiscal year 2011;
             and $7,350,000 for the Authority's contribution to improvements to PR Road 177
             pursuant to the Memorandum of Understanding dated on July 12, 2010 between the
             Bank, the Authority, Puerto Rico Electric Power Authority and the Municipality of
             Bayam6n;

                   WHEREAS, the First Amendment was evidenced by a First Amendment to
             Promissory Note (Allonge) to the HTA BAB Note to increase the amount to
             $89,752,969.25; a First Amendment to Promissory Note (Allonge) to the HTA
             Operating Note to increase the amount to $105,059,245.75, and an additional
             Promissory Note for the amount of $7,350,000 (the "PR Road 177 Note");




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                  WHEREAS,          Ex.
                           on February 14,43
                                           2011 Page   36 of and
                                                the Authority 51 the Bank executed a Second
                Amendment to Loan Agreement (the "Second Amendment'1 ) to increase the total
                principal amount of the Loan by $69,750,126 for a total maximum amount of 1WO
                HUNDRED SEVENTY ONE MILLION NINE HUNDRED TWELVE THOUSAND
                THREE HUNDRED FORTY ONE DOLLARS ($271,912,341), to provide additional
                funds for the Capital Improvement Program and operational expenses for fiscal year
                2010; for the Capital Improvement Program for fiscal year 2011; and for operational
                expenses attributable to fiscal year 2011;

                       WHEREAS, the Second Amendment was evidenced by a Second Amendment
                to Promissory Note (Allonge) to the HTA BAB Note to mcrease the amount
                to $124,592,410.25; a Second Amendment to Promissory Note (AJionge) to the HTA
                Operating Note to increase the amount to $139,969,930.75;

                       WHEREAS, on April 28, 2011 the Authority and the Bank executed a Third
                Amendment to Loan Agreement (the "Third Amendment") to increase the total
                principal -amount of the Loan by $28,700,000 for a total maximum amount of THREE
                HUNDRED MILLION SIX HUNDRED TWELVE THOUSAND THREE
                HUNDRED FORTY ONE DOLLARS ($300,612,341) to provide operational funds to
                the Metropolitan Bus Authority ("MBA"); and to provide financial assistance to the
                Maritime Transportation Authority ("MTA'') in the execution of a contractual
                agreement with a private entity for the operation of the Fajardo to Vieques and Culebra
                system, after declaring the State of Emergency of the transportation service to the Island
                Municipalities of Vieques and Culebra and a State of Fiscal Emergency for the MTA;

                      WHEREAS, the Third Amendment was evidenced by a Promissory Note in the
                amount of $4,700,000 (the "MBA Note") and a Promissory Note in the amount
                of$24,000,000 (the "MTA Note");

                     'WHEREAS, on May 17, 2011 the Authority and the Bank executed a Fourth
                Amendment to Loan Agreement (the "Fourth Amendment") to increase the total
                amount of the Loan by $102,709,611 for a total maximum amount of FOUR
                HUNDRED THREE MILLION THREE HUNDRED TWENTY ONE THOUSAND
                NINE HUNDRED FIFn:' TWO DOLLARS ($403,321,952), to provide additional
                resources for the Authority s operational and Capital Improvement Program expenses,
                to pay a judgment due by the Authority to Redondo Construction Company; to provide
                additional operational funds to the MBA for Fiscal Year 2011; and to provide
                authorization to use the maximum amount of $2,700,000, from the $24,000,000 it
                borrowed from Lender pursuant to the Trurd Amendment to provide financial
                assistance to the MIA, to pay insurance coverage for the vessels used by the MTA to
                provide transportation to the Island Municipalities ~f Vieques and Culebra;

                       WHEREAS, the Fourth Amendment was evidenced by a Third Amendment to
                Promissory Note (Allonge) to the HTA BAB Note to increase the amount
                to $127,714,461.25; a Third Amendment to Promissory Note (Allonge) to the HTA
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             Operating Note to increase the amount to $206,213,756.75; a First Amendment to
             Promissory Note (Allonge) to the MBA Note to increase the amount to $16,252,489;
             and a Promissory Note in the amount of $21,791,245 (the "Redondo Note");

                     WHEREAS, on January 20, 2012, the Authority and the Bank executed a Fifth
             Amendment to Loan Agreement (the "Fifth Amendment") to include the foll.owing
             addition.al uses for the $24,000,000 it borrowed from Lender pursuant to the Third
             Amendment: (a) drafting of a document for "Invitation fo:r Bidding "("IFB") of
             Operational Support; (b) support to the MTA for analyzing, documenting and solving
             the issues communicated by the various regulatory agencies that provide federal funds,
             among others, and which caused the state of emergency in the agency; (c) support to
             the MTA in making permanent improvements to the internal processes v.ri.thin the
             agency that result in effective and efficient service, and include the negotiation of the
             collective agreements to obtain economic and operational efficiencies necessary for the
             process; and, (d) contracting of one or various suppliers to assist the MTA to cover the
             deficiencies in its services to the citizens of Fajardo, Vieques and Culebra;

                   WHEREAS, on March 19, 2012, the Authority and the Bank executed a Sixth
             Amendment to Loan Agreement (the "Sixth Amendment'') to use the maximum
             ~aunt of $2,680,518.62, from the $24,000,000 it borrowed from Lender pursuant to the
             Third Amendment, to pay the current insurance coverage for the vessels used by the
             MTA to provide transportation to the Island Municipalities of Vieques and Culebra,
             and for the payment of the endorsement of the National Guard vessels £or the year
             2011;

                     'WHEREAS, the Loan matures on August 27, 2013 and is payable from the
              proceeds of bonds to be issued by the Authority, proceeds from the concession of any
              of the Authority's assets pursuant to the Public Private Partnerships Act, or from any
              available resources of the Authority;

                    WHEREAS, pursuant to the terms of Resolution 10101 adopted by the Board
              of Directors of the Bank on July 17, 2013, the Bank approved an extension to the
              maturity date of the Loan to August 31, 2014, subject to certain terms and conditions;
              and

                    WHEREAS, pursuant to Resolution Number 2013"'37 issued by Miguel A.
              Torres Dfaz, Secretary of the Puerto Rico Department of Transportation and Public
              Works on August 16, 2013, the Borrower accepted the conditions required by the
              Lender to extend the maturity date of the Loan.

                     NOW, THEREFORE, in consideration of the premises and for other good and
              valuable consideration, the receipt and sufficiency. of which are hereby
              acknowledged, subject to the terms and conditions contained herein,• the parties
              hereto agree to this Seventh Amendment to Loan Agreement, as follows:

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                1. The fust sentence of numbered Paragraph 5 of the Loan Agreement, as
              amended, is hereby amended to read as follows:

                      "The principal amount. of the Loan shall mature and be due            and
                      payable on August 31, 2014."

                 2. The extension of the maturity date of the Loan to August 31, 2014 shall be
              evidenced by a Fourth Amendment to the HTA BAB Note (Allonge); a Fourth
              Amendment to the I-ITA Operating Note (Allonge); a First Amendment to the PR
              Road 177 Note (Allonge); a Second Amendment to the MBA Note (Allonge); a First
              Amendment to the MrA Note (Allonge); and a First Amendment to the Redondo
              Note (Allonge).                                              ·

                 3. The Borrower covenants and agrees to pay to the Lender an amount equal to
              $141,107.32 as financial services fee in connection with this Seventh Amendment to
              Loan Agreement.

                 4. The parties agree that this Seventh Amendment to Loan Agreement does not
              constitute a novation o£ the obligations set forth in the Loan Agre€ment and its related
              Notes, all as amended, and that all provisions therein not inconsistent with this .Seventh
              Amendment to Loan Agreement, shall remain unchanged, binding and in full force
              and effect.

                  5. The rights and obligations of the parties to this Seventh Amendment to Loan
              Agreement are not intended for the benefit of and shall not be construed to create rights
              in parties other than the Borrower and the Lender.

                 6, In the event that any provision of this Seventh Amendment to Loan
              Agreement is held to be invalid in any circumstance, such mvalidity shall not affect any
              other provisions or circumstances.

                  7. This Seventh Amendment to Loan Agreement shall be governed by the laws of
              the Commonwealth of Puerto Rico.


                                            [SIGNATURE PAGE FOLLOWS]




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                                          s
Case:17-03283-LTS Doc#:18815-1 Filed:10/27/21 Entered:10/27/21 09:09:47 Desc:
                       Monolines Ex. 43 Page 39 of 51                 this
                     IN WITNESS WHEREOF, the Borrower and the Lender have caused
              Seventh Amendment to Loan Agreement to be executed and delivered by their
              respective officers thereunto duly authorized, in San Juan, Puerto Rico.

              GOVERNMENT DEVELOPI\fENT BANK PUERTO RICO HIGHWAY AND
              FOR PUERTO RICO                                 TRANSPORTATION AUTHORITY


              By;--=::,,..,;q,~---------
                   Jor
                   Exec ·     Vice President and
                       Fiscal Agent

              Testimony No. SSO

                     Recogruzed and subscribed before me. by Javier E. Ramos Hernandez, as
              Executive Director of the Puerto Rico Highway and Transportation Authority, of
              legal age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
              known tome.

                       In San Juan, Puerto Rico, on Au   st cf}. 8' 2013.



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             Y 47 DE 4DE JUNIO D
                                                                            ~otaryPublic
              Testimony No, 551

                     Recognized and subscribed before me by Jorge A Oivilles Dfaz, as Executive
               Vice President and Fiscal Agent of the Government Development Bank for Puerto
               Rico, of legal· age, married, executive and resident of San Juan, Puerto Rico,
               personally known to me.

                       In San Juan, Puerto Rico, on August~ 2013.




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                       Monolines Ex. 43 Page 40 of 51
                               EIGHTH AMENDMENT TO LOAN AGREEMENT


                     EIGHTH AMENDMENT TO LOAN AGREEMENT by and between the
              PUERTO RICO HIGHWAY ANP TRANSPORTATION AUTHORITY
              (the" Authority" or the ''Borrower") and the GOVERNMENT DEVELOPMENT
              BANK FOR PUERTO RICO (the 11 Bank" or the "Lender"),

                                                WITNESS ETH

                     WHEREAS, on August 27, 2010, the.Authority and the Bank executed a Loan
              Agreement (the "Loan Agreement") for the total principal non revolving amount of
              ONE HUNDRED EIGIITEEN MILLION THREE HUNDRED THOUSAND
              DOLLARS ($118,300,000) (the "Loan"), to provide interim financing to (i) pay certain
              costs of certain capital improvements to the Authority's facilities including those
              incurred or to be incurred in the acquisition, construction, equipping, installation and
              development of the Capital Improvement Program for fiscal year 2010 and 2011, and
              paying certain cosm associated with the automatization of the Authority's toll collection
              sys!:ems (collectively, the "Project"), and (ii) pay certain other suppliers of the
              Authority;

                    WHEREAS, the Loan was evidenced by two Promissory Notes payable to the
              Bank, issued on the same date as the Loan Agreement, one for the amount
              of $70,937,649.25 associated with the Capital Expenditures (the "HTA BAB Note"),
             and the other for the 'amount of $47,362,350.75 associated with the Operating
             Expenses (the "HTA Operating Note");

                    WHEREAS, on November 8, 2010 the Authority and the Bank executed a First
             Amendment to Loan Agreement (the "First Amendment") to increase the total
             principal amount of the Loan by $83,862,215 for a total maximum amount of TWO
             HUNDRED TWO MILLION ONE HUNDRED SIXTY TWO THOUSAND 1WO
             HUNDRED FIFfEEN DOLLARS ($202,162,2:1.5), to provide additional funds for the
             Capital Improvement Program for fiscal year_ 2010; for the Capital Improvement
             Program for fiscal year 2011; for operational expenses attributable to fiscal year 2011;
             and $7,350,000 for the Authority's contribution to improvements to PR Road 177
             pursuant to the Memorandum of Understanding dated on July 12, 2010 between the
             Bank, the Authority, Puerto Rico Electric Power Authority and the Municipality of
             Bayam6n;

                   'WHEREAS, the First Amendment was evidenced by a First Amendment to
             Promissory Note (Allonge) to the ITTA BAB Note to increase the amount to
             $89,752,969.25; a First Amendment to Promissory Note (Allonge)              to
                                                                                     the HTA
             Opera.ting Note to increase the amount ~o $105,059,245.75, and an additional
             Promissory Note for the amount of $'7,350,000 (the "PR Road 177 Note");




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                       Monolines Ex. 43 Page 41 of 51
                     WHEREAS, on February 14, 2011 the Authority and the Bank executed a Second
              Amendment to Loan Agreement (the "Second AmeIJdment") to increase the total
              principal amount of the Loan by $69,750,126 for a total mrudmum amount of TWO
              HUNDRED SEVENTY ONE MILLION NINE HUNDRED 'IWELVE TIIOUSAND
              TilREE HUNDRED FORTY ONE DOLLARS ($271,912,341), to provide additional
              funds for the Capital Improvement Program and operational expenses for fiscal year
              2010; for the Capital Improvement Program for fiscal year 2011; and for operational
              expenses attributable to fiscal year 2011;

                      WHEREAS, the Second Amendment was evidenced by a Second Amendment
              to Promissory Note (Allonge) to the HTA BAB Note to increase the amount
              to $124,592,410.25; a Second Amendment to Promissory Note (Allonge) to the HTA
              Operating Note to increase the amount to $139,969,930.75;

                     WHEREAS,      on  April 28, 2011 the Authority and the Bank executed a Third
              Amendment to Loan Agreement (the "Third Amendment") to i.11.crease the total
              principal amount of the Loan by $28,700,000 for a total maximum ammmt of THREE
              HUNDRED MILLION SIX HUNDRED TWELVE THOUSAND THREE
              HUNDRED FORTY ONE DOLLARS ($300,612,341) to provide operational funds to
              the Metropolitan Bus Authority ("MBA"); and to provide fi:p.ancial assistance to the
              Maritime Transportation Authority ("MTA") in the execution of a contractual
              agreement with a private entity for the operation of the Fajardo to Vieques and Culebra
              system, after declaring the State of Emergency of the transportation service to the Island
              Municipalities of Vietj_ues and Culebra and a State of Fiscal Emergency for the MTA;

                     WHEREAS, the Third Amendment was evidenced by a Promissory Note in the
              amount of $4,700,000 (the "MBA Note") and a Promissory Note in the amount
              of $24,000,000 (the "MTA Note");

                     WHEREAS, on May 17, 2011 the Authority and the Bank executed a Fourth
              Amendment to Loan Agreement (the "Fourth Amendment") to increase the total
              amount of the Loan by $102,709,611 for a total maximum amount of FOUR
              HUNDRED THREE MILLION THREE HUNDRED TIVBNTY ONE THOUSAND
              NINE HUNDRED FIFTY TWO DOLLARS ($403,321,952), to provide additional
              resources for the Authority's operational and Capital Improvement Program expenses,
              to pay a judgment due by the Authority to Redondo Construction Company; to provide
              additional operational funds to the MBA for Fiscal Year 2011; and to provide
              authorization to use the maximum amount of $2,700,000, from the $24,000,000 it
              borrowed from Lender pursuant to the Third Amendment to provide financial
              aMistance to the MrA, to pay insurance coverage for the vessels used by the MfA to
              provide transportation to the Island Municipalities 0£ Vieques and Culebra; ·

                     WHEREAS, the Fourth Amendment was evidenced by a Third Amendment to
              Promissory Note (Allonge) to the HTA BAB Note to increase the amount
              to $127,714,461.25; a Third Amendment to Promissory Note (Allonge) to the HTA

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              Operating Note to increase the amount to $206,213,756.75; a First Amendment to
              Promissory Note (Allonge) to the MBA Note to increase the amount to $16,252,489;
              and a Promissory Note in the amount of $21,791,245 (the "Redondo Note");

                      · WHEREAS, on January 20, 2012, the Authority and the Bank executed a Fifth
              Amendment to Loan Agreement (the "Fifth Amendment' ') to include the following
              additional uses for the $24,000,000 it borrowed from Lender pursuant to the Third
              Amendment: (a) drafting of a document for "Invitation for Bidding"("IFB") of
              Operational Support; (b) support to the :MTA for analyzing, documenting and solving
              the issues communicate d by the various regulatory agencies that provide federal funds,
              among others, and which caused the state of emergency in the agency; (c) support to
              the MTA in making permanent improvemen ts to the internal processes within the
              agency that result in effective and efficient service, and mdude the negotiation of the
              collective agreements to obtain economic and operational efficiencies necessary for the
              process; and, (d) contracting of one or various suppliers to assist the MTA to cover the
              deficiencies in its services to the citizens of Fajardo, Vieques and Culebra;

                   WHEREAS, on March 19, 2012, the Authority and the Bank executed a Sixth
             Amendment to Loan Agreement (the "Sixth Amendment'' ) to use the maximum
             amount of $2,680,518.62, from the $24,000,000 it borrowed from Lender pursuant to the
             Third Amendment, to pay the current insurance coverage for the vessels used by the
             MT A to provide transportatio n to the Island Municipalities of Vieques and Culebra,
             and for the payment of the endorsement of the National Guard vessels for the year
             2011;                                                                    .

                   WHEREAS, on August 28, 2013, the Authority and the Bank executed a
             Seventh Amendment to Loan Agreement (the "Seventh Amendment' ') in order to
             extend the maturity date 0£ the Loan to August 31, 2014;

                   WHEREAS the Seventh Amenrunent was evidenced by a Fourth Amendment
             to Promissory Note (Allonge) to the HTA BAB Note; a Fourth Amendment to
             Promissory Note (Allonge) to the HTA Operating Note; a First' Amendment to
             Promissory Note (Allonge) to the PR Road 177 Note; a Second Amendment to
             Promissory Note (Allonge) to the MBA Note; a First Amendment to Promissory Note
             (Allonge) to the MTA Note; and a First Amendment to Promissory Note (Allonge) to
             the Redondo Note;

                    WHEREAS, the Authority has requested an increase to the $24,000,000 portion
             of the Loan that the Authority currently subsidizes to the MI'A. The Authority has
             represented to the Bank that if such increase is not granted, the transportatio n
             services between the Island Municip~tie s of Vieques and Culebra would have to be
             suspended indefinitely; ·

                    WHEREAS, the parties have agreed to :increase by $2,852,836 the $24,000,000
             that the Authority borrowed from the Bank pursuant to the Third Amendment to
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              provide additional finai:i_dal.assistance to the MTA, thereby increasing the maximum
              amount of the Loan to FOUR HUNDRED SIX MILLION ONE HUNDRED
              SEVENTY FOUR TIIOUSAND SEVEN HUNDRED EIGHI'Y EIGHT DOLLARS
              ($406,174,788);

                     WHEREAS, pursuant to the tenns of Resolution 10038 adopted by the Bank's
              Board of Directors on May 15, 2013, as amended by Resolution 10104 adopted on July
              17, 2013, and due to the MTA's precarious financial situation, the Bank approved the
              increase of the Loan as an emergency financing, subject to certain terms and
              conditions, in consideration with.the residents of Vieques and Culebra, regular users
              of the maritime transportation services, and in order to avoid an economic and social
              catastrophe in said Island Municipalities; and

                   WHEREAS, pursuant to Resolution Number 2013-47 issued by Miguel A.
             Torres Dfaz, Secretary of the Puerto Rico Department of Transportation and Public
             Works on October. 8, 2013, the Authority accepted the conditions required by the
             Bank to increase the Loan.

                    NOW, THEREFORE, in consideration of the premises and for other good and
             valuable consideration, the receipt and sufficiency of which are hereby
             acknowledged, subject to the terms and conditions contained herein, the parties
             hereto agree to this Eighth Amendment to Loan Agreement, as follows:

                1. The parties agree to increase the maximum amount of the Loan from FOUR
              HUNDRED TimEE MILLION TBREE HIJNDRED TWENTY ONE THOUSAND
              NINE HUNDRED FIFI'Y TWO DOLLARS ($403;321,952) to FOUR HUNDRED SIX
              MILLION ONE HUNDRED SEVENTY FOUR THOUSAND SEVEN HUNDRED
              EIGHTY EIGHT DOLLARS ($406,174,788).

                 2. The Authority agrees that the $2,852,836 increase to the $24,000,000 portion of
              the Loan will be used to provide financial assistance to the MTA in order to attend the
              State of Emergency of the b:ansportation service to the Island Municipalities of Vieques
              and Culebra.

                 3. The Loan increase shall be evidenced by a Second Amendment to Promissory
             -Note (Allonge) to the. MTA Note to increase the amount from $24,000,000 to
              $26,852,836, executed by the Authority on this same date.

                 4. In connection with the MTA Note, as increased herein, the following
              disbursement procedure -will apply:

                        a. Prior to any disbursement, Borrower will provide Lender a duly
                           executed Notice of Dra:wing made part of this Eighth Amendment to
                           Loan Agreement as Exhibit I.


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                        b. The parties agree that the Lender reserves the right to request
                           additional .information needed prior to processing any disbursements
                           from the Loan, including, hut not limited to, copies of invoices.

                        c. Lender will require whatever administrative mechanisms it deems
                           necessary to ensure that the funds are used exclusively for the authorized
                           purposes, without unreasonable delays in the disbursement of funds.

                  5. Additionally, the Authority shall submit to the Board of Directors of the Bank a
              fiscal stabilization plan, as required in Section 22 of that certain Fiscal Oversight
              Agreement dated January 10, 2012 ("FOA''), for its consideration in the next Board
              meeting, setting forth MIA' B specific long tenn measures to reduce its operating deficit.

                 6. Prior to any disbursement of the amount mcreased hereby, the Authority shall
              execute an amendment ·to the FOA in order to include those certain terms and
              conditions negotiated among the Bank, the Authority and the MTA.

                  7. The Borrower covenants and agrees to pay to the Lender for this transaction a
              financial service fee of 0_ne Thousand Four Hundred Twenty Six Dollars and Forty
              Two Cents ($1,426.42} which is equa1 to 1/20 of 1 % of the Loan increase.

                 8. The parties agree that this Eighth Amendment to Loan Agreement does not
              constitute a novation of the obligations set forth in the Loan Agreement, and its related
              Notes, all as amended, and that all provisions therein not inconsistent with this Eighth
              Amendment to Loan Agreement, shall remain unchanged, binding and in full force
              and effect.

                  9. The rights and obligations of the parties to this Eighth Amendment to Loan
              Agreement are not intended for the benefit of and shall not be construed to create rights
              in parties other than the Borrower and the Lender.

                  10. In the event that any provision of this Eighth Amendment to Loan Agreement
              is held to be invalid in any circumstance, such invalidity shall not affect any other
              provisions or circumstances.

                 11. This Eighth Amendment to Loan Agreement shall be governed by the laws of
              the Commonwealth of Puerto Rico,

                                            [SIGNATURE PAGE FOLLOWS]




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                       Monolines Ex. 43 Page 45 of 51
                     IN WITNESS WHEREOF, the Borrower and the Lender have caused this ·
              Eighth Amendment to Loan Agreement to be executed and delivered by their
              respective officers thereunto duly authorized, in San Juan, Puerto Rico.

              GOVERNMENT DEVELOPMENT BANK PUERTO RICO HIGHWAY AND
              FORPUERTORICO               TRANSPORTATION AUTHORITY




                                   President and


              Testimony No. .5 5 ff

                     Recognized and subscribed before me by Javier E. Ramos Hernandez, as
              Executive Director of the Puerto Rico Highway and Transportation Authority, of
              legal age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
              known tome.

                                                            ;.:,..   2013 .




                                                                              .ifotaryPublic

             Testimony No. 5 s':;

                    Recognized and subscribed before me by Joi;ge A. Oivilles Diaz, as Executive
              Vice President and Fiscal Agent of the Government Development Bank for Puerto
              Rico, of legal age, married, executive and resident of San Juan, Puerto Rico,
              personally known to me.

                      In San Juan, Puerto Rico, on October_!.:!::_, 2013.




      EXE   DELPAGODEA                                                             yPublic
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                                       NINTH AMENDMENT TO LOAN AGREEMENT


                             NINTH AMENDMENT TO LOAN AGREEMENT by and between the
                      PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
                      (the" Authority" or the "Borrower") and the GOVERNMENT DEVELOPMENT
                      BANK FOR PUERTO RICO (the "Bank" or the "Lender"),

                                                        WITNESS ETH

                             WHEREAS, on August 27, 2010, the Authority and the Bank executed a Loan
                      Agreement (the "Loan Agreement") for the total principal non revolving amount of
                      ONE HUNDRED EIGHTEEN MILLION THREE HUNDRED THOUSAND
                      DOLLARS ($118,300,000) (the "Loan"), to provide interim financing to (i) pay certain
                      costs of certain capital improvements to the Authority's facilities including those
                      incurred or to be incurred in the acquisition, construction, equipping, installation and
                      development of the Capital Improvement Program for fiscal year 2010 and 2011, and
                      paying certain costs associated with the automatization of the Authority's toll collection
                      systems (collectively, the "Projecf'), and (ii) pay certain other suppliers of the
                      Authority;

                             WHEREAS, the Loan was evidenced by two Promissory Notes payable to the
                      Bank, issued on the same date as the Loan Agreement, one for the amount
                      of $70,937,649.25 associated with the Capital Expenditures (the "HTA BAB Note"),
         Arffe        and the other for the amount of $47,362,350.75 associated with the Operating
                                                                                                                   11




        "U _j tX7     Expenses (the "HTA Operating Note");

                             WHEREAS, on November 8, 2010 the Authority and the Bank executed a First
                      Amendment to Loan Agreement (the "First Amendment") to increase the total
                      principal amount of the Loan by $83,862,215 for a total maximum amount of 'IWO
                      HUNDRED 'IWO MILLION ONE HUNDRED SIXTY TWO THOUSAND 'IWO
                      HUNDRED FIFTEEN DOLLARS ($202,162,215), to provide additional funds for the
                      Capital Improvement Program for fiscal year 2010; for the Capital Improvement
                      Program for fiscal year 2011; for operational expenses attributable to fiscal year 2011;
                      and $7,350,000 for the Authority's contribution to improvements to PR Road 177
                      pursuant to the Memorandum of Understanding dated on July 12, 2010 between the
                      Bank, the Authority, the Puerto Rico Electric Power Authority and the Municipality of
                      Bayamon;

                            WHEREAS, the First Amendment was evidenced by a First Amendment to
                      Promissory Note (Allonge) to the HTA BAB Note to increase the amount to
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                      $89,752,969.25; a First Amendment to Promissory Note (Allonge) to the HTA
 )>                   Operating Note to increase the amount to $105,059,245.75, and an additional
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                      Promissory Note for the amount of $7,350,000 (the "PR Road 177 Note");
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                           WHEREAS, on February 14, 2011 the'Authority and the Bank executed a Second
                    Amendment to Loan Agreement (the. "Second Amendment") to increase the total
                    principal amount of the Loan by $69,750,126 for a total maximum amount of TWO
                    HUNDRED SEVENTY ONE MILLION NINE HUNDRED TWELVE THOUSAND
                    THREE HUNDRED FORTY ONE DOLLARS ($271,912,341), to provide additional
                    funds for the Capital Improvement Program and operational expenses for fiscal year
                    2010; for the Capital Improvement Program for fiscal year 2011; and for operational
                    expenses attributable to fiscal year 2011;

                           WHEREAS, the Second Amendment was evidenced by a Second Amendment
                    to Promissory Note (Allonge) to the HfA BAB Note to increase the amount
                    to $124,592,410.25i a Second Amendment to Promissory Note (Allonge) to the HfA
                    Operating Note to increase the amount to $139,969,930.75;

                           WHEREAS, on April 28, 2011 the Authority and the Bank executed a Third
                    Amendment to Loan Agreement (the "Third Amendment") to increase the total
                    principal amount of the Loan by $28,700,000 for a total maximum amount of THREE
                    HUNDRED MILLION SIX HUNDRED TWELVE THOUSAND THREE
                    HUNDRED FORTY ONE DOLLARS ($300,612,341) to provide operational funds to
                    the Metropolitan Bus Authority ("MBA"); and to provide financial assistance to the
                    Maritime Transportation Authority ("MTA") in the execution of a contractual
                    agreement with a private entity for the operation of the Fajardo to Vieques and Culebra
         jtf}J      system, after declaring the State of Emergency of the transportation service to the Island
                    Municipalities of Vieques and Culebra and a State of Fiscal Emergency for the MT A;
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                           WHEREAS, the Third Amendment was evidenced by a Promissory Note in the
                    amount of $4,700,000 (the "MBA Note") and a Promissory Note in the amount
                    of $24,000,000 (the "MTA Note");

                           WHEREAS, on May 17, 2011 the Authority and the Bank executed a Fourth
                    Amendment to Loan Agreement (the "Fourth Amendment") to increase the total
                    amount of the Loan by $102,709,611 for a total maximum amount of FOUR
                    HUNDRED THREE MILLION THREE HUNDRED TWENTY ONE THOUSAND
                    NINE HUNDRED FIFTY 1WO DOLLARS ($403,321,952), to provide additional
                    resources for the Authority's operational and Capital Improvement Program expenses,
                    to pay a judgment due by the Authority to Redondo Construction Company; to provide
                    additional operational funds to the MBA for Fiscal Year 2011i and to provide
                    authorization to use the maximum amount of $2,700,000, from the $24,000,000 it
                    borrowed from Lender pursuant to the Third Amendment to provide financial
                    assistance to the MT A, to pay insurance coverage for the vessels used by the MTA to
                    provide transportation to the Island Municipalities of Vieques and Culebra;
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 )>                        WHEREAS, the Fourth Amendment was evidenced by a Third Amendment to
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                    Promissory Note (Allonge) to the HTA BAB Note to increase the amount
0                   to $127,714,461.25; a Third Amendment to Promissory Note (Allonge) to the HTA
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                       Operating Note to increase the amount to $206,213,756.75; a First Amendment to
                       Promissory Note (Allonge) to the MBA Note to increase the amount to $16,252,489;
                       and a Promissory Note in the amount of $21,791,245 (the "Redondo Note");

                                WHEREAS, on January 20, 2012, the Authority and the Bank executed a Fifth
                       Amendment to Loan Agreement (the "Fifth Amendment11 ) to include the following
                       additional uses for the $24,000,000 borrowed from the Lender pursuant to the Titlrd
                       Amendment: (a) drafting of a document for "Invitation for Bidding"("IFB") of
                       Operational Support; (b) support to the MTA for analyzing, documenting and solving
                       the issues communicated by the various regulatory agencies that provide federal funds,
                       among others, and which caused the state of emergency in the agency; (c) support to
                       the MTA in making permanent improvements to the internal processes within the
                       agency that result in effective and efficient service, and include the negotiation of the
                       collective agreements to obtain economic and operational efficiencies necessary for the
                       process; and, (d) contracting of one or various suppliers to assist the MT A to cover the
                       deficiencies in its services to the citizens of Fajardo, Vieques and Culebra;

                             WHEREAS, on March 19, 2012, the Authority and the Bank executed a Sixth
                       Amendment to Loan Agreement (the "Sixth Amendment") to use the maximum
                       amount of $2,680,518.62, from the $24,000,000 it borrowed from Lender pursuant to the
                       Third Amendment, to pay the current insurance coverage for the vessels used by the
        1tfl!          MT A to provide transportation to the Island Municipalities of Vieques and Culebra,
                       and for the payment of the endorsement of the National Guard vessels for the year
        U :!iw         2011;

                             WHEREAS, on August 28, 2013, the Authority and the Bank executed a
                       Seventh Amendment to Loan Agreement (the "Seventh Amendment") in order to
                       extend the maturity date of the Loan to August 31, 2014;

                             WHEREAS the Seventh Amendment was evidenced by a Fourth Amendment
                       to Promissory Note (Allonge) to the HTA BAB Note; a Fourth Amendment to
                       Promissory Note (Allonge) to the HTA Operating Note; a First Amendment to
                       Promissory Note (Allonge) to the PR Road 177 Note; a Second Amendment to
                       Promissory Note (Allonge) to the MBA Note; a First Amendment to Promissory Note
                       (Allonge) to the MTA Note; and a First Amendment to Promissory Note (Allonge) to
                       the Redondo Note;

                              WHEREAS, on October 17, 2013, the Authority and the Bank executed an
                       Eighth Amendment to Loan Agreement (the "Eighth Amendmenf') in order to
                       increase the $24,000,000 portion of the Loan that the Authority currently subsidizes
                       to the MT A by $2,852,836 to provide additional financial assistance to the MT A,
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                       thereby increasing the maximum amount of the Loan to FOUR HUNDRED SIX
 )>                    MILLION ONE HUNDRED SEVENTY FOUR THOUSAND SEVEN HUNDRED
l"Tl                   EIGHTY EIGHT DOLLARS ($406,174,788);
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                              WHEREAS, the Eighth Amendment was evidenced by a Second Amendment
                        to Promissory Note (Allonge) to the MTA Note to increase the amountto $26,852,836.

                               WHEREAS, the Loan matures orl August 31, 2014, and it is payable from the
                        proceeds of bonds to be issued by the Authority, proceeds from the concession of any
                        of the Authority's assets pursuant to the Public Private Partnerships Act, or from any
                        available resources of the Authority;

                              WHEREAS, pursuant to the terms of Resolution 10367 adopted by the Board
                        of Directors of the Bank on June 27, 2014, the Bank approved an extension to the
                        maturity date of the Loan to August 31, 2015, subject to certain terms and conditions;
                        and

                               WHEREAS, pursuant to Resolution Number 2014-74 adopted by the Board of
                        Directors of the Authority on September 22, 2014, the Borrower accepted the
                        conditions required by the Lender to extend the maturity date of the Loan.

                               NOW, THEREFORE, in consideration of the premises and for other good and
                        valuable consideration, the receipt and sufficiency of which are hereby

         1tftl          acknowledged, subject to the terms and conditions contained herein, the parties
                        hereto agree to this Ninth Amendment to Loan Agreement, as follows:
         ~U ,s0V          1. The first sentence of numbered Paragraph 5 of the Loan Agreement, as
                        amended, is hereby amended to read as follows:

                                "The principal amount of the Loan shall mature and be due and
                                payable on August 31, 2015."

                           2. The extension of the maturity date of the Loan to August 31, 2015 shall be
                        evidenced by a Fifth Amendment to the HfA BAB Note (Allonge); a Fifth
                        Amendment to the HTA Operating Note (Allonge); a Second Amendment to the PR
                        Road 177 Note (Allonge); a Third Amendment to the MBA Note (Allonge); a Third
                        Amendment to the MTA Note (Allonge); and a Second Amendment to the Redondo
                        Note (Allonge).

                            3. The Borrower covenants and agrees to pay to the Lender for this transaction a
                        financial service fee of One Hundred Forty Two Thousand Fifty Eight Dollars and
                        Twenty Six Cents ($142,058.26), which is equal to 1/25 of 1 % of the Loan up to
                        $100,000,000 and 1/30 of 1 % of the Loan over $100,000,00.

                           4. The parties agree that this Ninth Amendment to Loan Agreement does not
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                        constitute a novation of the obligations set forth in the Loan Agreement, and its related
 )>                     Notes, all as amended, and that all provisions therein not inconsistent with this Ninth
l"Tl                    Amendment to Loan Agreement, shall remain unchanged, binding and in full force
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                        5. The rights and obligations of the parties to this Ninth Amendment to Loan
                    Agreement are not intended for the benefit of and shall not be construed to create rights
                    in parties other than the Borrower and the Lender.

                        6. In the event that any provision of this Ninth Amendment to Loan Agreement
                    is held to be invalid in any circumstance, such invalidity shall not affect any other
                    provisions or circumstances.

                        7. This Ninth Amendment to Loan Agreement shall be governed by the laws of
                    the Commonwealth of Puerto Rico.

                       8. Pursuant to Resolution 10367, adopted by the Board of Directors of the Bank
                    on June 27, 2014, this Ninth Amendment to Loan Agreement is intended as a
        . ~~Jiv     declaration of intent under U.S. Treasury Department Regulation Section 1.150-2.

                                                 [SIGNATURE PAGE FOLLOWS]




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                              IN WITNESS WHEREOF, the Borrower and the Lender have caused this
                       Ninth Amendment to Loan Agreement to be executed and delivered by their
                       respective officers thereunto duly authorized, in San Juan, Puerto Rico.

                       GOVERNMENT DEVELOPMENT BANK PUERTO RICO HIGHWAY AND
                       FOR PUERTO RICO             TRANSPORTATION AUTHORITY



                       By:                       "'
                                                                                 UL-------"·-,£----
                             Jorge        faz                             Javier E. Ramos Hernandez
                             Execut1 v ~ esident and                      Executive Director
                             Fiscal Agent

                       Testimony No. 11 003

                              Recognized and subscribed before me by Javier E. Ramos Hernandez, as
                       Executive Director of the Puerto Rico Highway and Transportation Authority, of
                       legal age, married, engineer and resident of Bayamon, Puerto Rico, who is personally
                       known tome.

        J[/ld                              an, Puerto Rico, on December~ 2014.
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                       Testimony No. I, Ori/

                            Recognized and subscribed before me by Jorge A. Clivilles Diaz, as Executive
                       Vice President and Fiscal Agent of the Government Development Bank for
                       Puerto Rico, of legal age, married, executive and resident of San Juan, Puerto Rico,
                       personally known to me.

                              InSanJuan, Puerto Rico, on December _f_, 2014.




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